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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CLINICAL WOUND SOLUTIONS, LLC,
Plaintiff(s),

Judge Martha M. Pacold
NORTHWOOD, INC,,

)
)
)
)
V. ) No. 18-cv-07916
)
)
)
Defendant(s). )
AMENDED COMPLAINT

NOW COMES the Plaintiff, CLINICAL WOUND SOLUTIONS, LLC., (hereinafter
referred to as “CWS”), by and through its attorneys, DICKLER, KAHN, SLOWIKOWSKI &
ZAVELL, LTD., and as its Amended Complaint against the Defendant, NORTHWOOD, INC.,
(hereinafter referred to as “Northwood”), states as follows:

COUNT I- BREACH OF CONTRACT

1. CWS is a limited liability company authorized to conduct business in the State
of Illinois and conducts business in Bensenville, DuPage County, Illinois.

2. CWS is in the business of supplying medical supplies.

3. Northwood is a Michigan corporation authorized to conduct business in the
State of Illinois.

4. Northwood is a third party administrator and vendor which entered into an

agreement with Security Health Plan of Wisconsin, Inc. (hereinafter referred to as “SHP”) to
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supply covered services to SHP members.
5. CWS entered into a Participating Supplier Agreement with Northwood to
provide medical supplies to SHP members, a copy of which is attached hereto as Exhibit A and

incorporated by this reference.

6. CWS agreed to provide covered services to those members who were referred
or assigned by Northwood.
7. Northwood agreed to negotiate contracts with plan sponsors and other groups

to arrange for the provision of covered services by CWS to the SHP members

8. Northwood agreed to pay CWS for the supplies provided.

9. CWS provided supplies to the covered members of SHP. CWS provided
Northwood with itemized statements of the supplies it provided to the covered members. A
copy of the summary statement is attached hereto as Exhibit B and incorporated by this
reference.

10. | CWSmade demand for payment upon Northwood and Northwood failed to pay
the balance due to CWS.

11. CWS has performed all that was required of it under its agreement with
Northwood and has satisfied all contract conditions.

12. Northwood failed to pay the balance of $196,769.30 for the supplies provided
under its agreement with CWS.

WHEREFORE, Plaintiff, CLINICAL WOUND SOLUTIONS, LLC, seeks a judgment in
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the amount of $196,769.30 against Defendant, NORTHWOOD, INC., plus attorney’s fees and
costs, and for any further relief this Honorable Court deems just and proper.
COUNT II- FRAUD

1-12. CWS realleges and restates paragraphs 1 through 12 of Count I as paragraphs
1-12 of Count II as though fully set forth herein.

13. Pursuant to the Participating Supplier Agreement, a copy of which is attached
hereto as Exhibit A and incorporated by this reference, it was the obligation of CWS to provide
supplies to the covered members referred or assigned to CWS by Northwood. Pursuant to the
Subcontractor Affiliation Acknowledgment, which is attached as part of Exhibit A, CWS
agreed to be paid by Northwood for providing Covered Services.

14. Relying upon Northwood’s agreement to refer or assign covered members to
CWS and Northwood’s agreement to pay contained in the Participating Supplier Agreement,
CWS provided the covered supplies to the covered members that were referred to it.
Northwood failed to pay the balance due to CWS.

15. | Numerous audits were conducted by Gail Brown of Northwood. Information
was requested and supplied by CWS. When Northwood alleged that information was not
received, CWS would resubmit the information.

16. | Northwood performed expanded random audits, sometimes reviewing claims
that had been submitted a year earlier.

17. | Northwood denied claims that had previously been approved. Northwood
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unreasonably denied other claims for such reasons as the hospital documents not being
acceptable.

18. _ Even after claims had passed the audits, Northwood processed recoupment of
claims previously paid to CWS.

19. The actions of Northwood were deliberately intended to deprive CWS of the
payments to which it was entitled absent Northwood’s actions and therefore constitute malice
in law. The willful actions of Northwood displayed a wanton disregard of CWS’s right to
receive payment.

20. As a direct and proximate result of Northwood’s actions, CWS has been
damaged in the amount of $196,769.30.

WHEREFORE, the Plaintiff, CLINICAL WOUND SOLUTIONS, L.L.C., seeks a
judgment to be entered in the amount of $196,769.30 against the Defendant,
NORTHWOOD, INC., plus punitive damages of treble the amount of actual damages, plus
attorneys’ fees and costs.

COUNT III-ILLINOIS IMPROPER CLAIMS PRACTICE

1-15. CWS realleges and restates paragraphs 1 through 15 of Count II as paragraphs
1-15 of Count III as though fully set forth herein.

16. Northwood has committed acts constituting improper claims practices under
the Illinois Insurance Code, Section 215 ILCS 5/154.6.

17. | CWSsubmitted preauthorization request forms to Northwood, would receive
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approvals, and then provide the supplies.

18. Claims would be submitted along with the supporting documentation.

19. Northwood would request additional information which was submitted by
CWS. When Northwood alleged that the information was not received, CWS would resubmit
the information.

20. Northwood denied claims that it had previously approved.

21. Northwood unreasonably disapproved information that was submitted such as
rejecting information supplied by the prescribing physician.

22. Northwood performed expanded audits into random claims without any basis,
often reviewing claims submitted more than a year earlier. Results of audits were given to
CWS without a reference to the date of the claims and without complete explanations for the
basis of the denials of the claims.

23. Appeals were filed by CWS and information supplied again. Claims were
unreasonably denied by Northwood for such reasons as their rejection of the hospital
documents.

24, —_ Even after the claims filed by CWS passed the audit, Northwood processed
recoupment of payments previously made to CWS.

25. Northwood found reasons to deny claims that had been previously approved
in their attempt to recoup payments they had already made.

26. Asaresult of Northwood’s breaches, CWS has been damaged and Northwood
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is liable to CWS in the amount of $196,769.30.

27. | Northwood has performed acts that constitute improper claims practice within
the meaning of the Illinois Insurance Code, 215 ILCS 5/154.6.

28. Theactions of Northwood were and are unreasonable and vexatious within the
meaning of Section 155 of the Illinois Insurance Code, 215 ILCS 5/155. Pursuant to Section 155,
CWS is also entitled to its attorneys fees and costs in bringing the instant action, plus penalties
for each of the improper practices and claims practices by Northwood.

WHEREFORE, Plaintiff, CLINICAL WOUND SOLUTIONS, LLC, seeks a judgment
against Defendant, NORTHWOOD, INC., in the amount of a) $196,769.30; b)the sum as
penalties for each of the Defendant’s improper practices, c) plus attorney’s fees and costs
incurred in this action pursuant to Section 155, 215 ILCS 5/155, of the Illinois Insurance Code,
and d) for any further relief this Honorable Court deems just and proper.

COUNT IV-MICHIGAN THIRD PARTY ADMINISTRATOR ACT

1-28. CWS realleges and restates paragraphs 1 through 28 of Count III as paragraphs
1-28 of Count IV as though fully set forth herein.

29. | Northwood has breached its duties under the Michigan Third Party
Administrator Act, Section 550.940.

30. Asaresult of Northwood’s breaches, CWS has been damaged and Northwood

is liable to CWS in the amount of $196,769.30.

31. Northwood has performed acts that constitute improper claims practice within
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the meaning of the Michigan Third Party Administrator Act, Section 550.940.

WHEREFORE, Plaintiff, CLINICAL WOUND SOLUTIONS, LLC, seeks a judgment
against Defendant, NORTHWOOD, INC., in the amount of a) $196,769.30; and b)the sum as
penalties for each of the Defendant’s improper practices, plus the attorney's fees and costs
incurred in this action pursuant to Michigan Third Party Administrator Act, Section 550.940,

and (c) for any further relief this Honorable Court deems just and proper.

CLINICAL WOUND SOLUTIONS, LLC

BY: /s/ Sandra T. Kahn
One of Its Attorneys

Dickler, Kahn, Slowikowski & Zavell, Ltd.
85 W. Algonquin Road

Suite 420

Arlington Heights, IL 60005

847-593-5595

sandy@dicklerlaw.com

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Northwood
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NORTHWOOD, INC.
PARTICIPATING SUPPLIER AGREEMENT

THIS AGREEMENT is made this 20 \ay of uly ,20_\S by and between

Northwood, Inc,, a Michigan business corporation ("Northwood"), and

 

 

 

(“Participating Supplier’),
RECITALS
A. Northwood is a business corporation, which among other things, is licensed as a third
party administrator in Michigan.

Home Care Products and Services Program (as
“Program');

Cc. Northwood desires to enter into agreements with providers and suppliers of Home Care
Products and Services to provide the equipment, supplies, and services necessary to fulfill Northwood's
objectives.

D. Participating Su;
Home Care Products and Services to Plan
for such products and services.

NOW, THEREFORE, in consideration of the mutual covenants
Northwood and Participating Supplier agree as follows:

I. DEFINITIONS
For the purposes of this agreement, the following terms shall have the meanings set forth below:

11 “Covered Person" means any Member, Employee or Dependent or any other person
covered by and entitled to benefits under any Group Service Agreement.

1.2 "Covered Services" means all of the Home Care Products and Services which Covered
Persons are entitled to receive under the Group Service Agreement and which are listed on Exhibit A
attached hereto and incorporated herein.

"Dependent" means any individual considered by the Plan Sponsor to be a dependent of

B, Northwood proposes to offer a Managed
defined herein) to Plan Sponsors other organizations (the

pplier is a home care provider or supplier which desires to provide _
Sponsors and other organizations contracting with Northwood

and promises set forth below,

13
a Member.

14 “Employee” means any individual considered by the Employer to be an employee.

15 “Employer” means any employer group that has entered into a Group Service Agreement
with Northwood for the Program.

1.6 “Home Care Products and Services" means those products and services designed to enable
individuals to be treated in their homes or provider's facility, including, but not limited to, home health
services, provision of durable medical equipment and supplies, prosthetic and orthotic equipment and
supplies, assisted technologies, and home infusion therapy equipment and supplies.

1.7 "Member" means an individual covered by or enrolled in a Plan.

“Non-Covered Services" means all health care services which are not Covered

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Services under the Northwood, Inc. Group Service Agreement.
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19 “Participating Supplier" shall mean a Home Care Products and Services provider or
supplier that has entered into a Participating Supplier Agreement to provide Home Care Products and

Services to Covered Persons.
110 ‘Participating Supplier A f" means the written agreement between Northwood

and a Participating Supplier described in Section 1.9.

1.11 “Plan” means a Member's health care benefits as set forth in
Description, Certificate of Coverage or other applicable coverage document.

1.12 "Plan Sponsor" means an employer, auto insurance carrier, workers’ compensation
carrier, insurer, health plan (public or private), third party administrator, labor union, organization or
other person or entity which has contracted with Northwood to offer home care products and services to
Covered Persons and has agreed to be responsible for funding benefit payments for Covered Services

provided to Members under the terms of a Plan.
“Program" means the Managed Home Care Products and Services program offered by

the Member’s Summary Plan

1.13
Northwood.
1.14 "Group Service t’ means the written agreement between Northwood and a
Plan Sponsor, pursuant to which Northwood has agreed to arrange for delivery of Covered Services to
Member's under a Plan and may have agreed to process claims and provide utilization review, quality

monitoring and care management services.
I, OBLIGATIONS OF PARTICIPATING SUPPLIER

21 Provision of Covered Services. Participating Supplier agrees fo provide all Covered
Services to Covered Persons who choose to receive such services from Participating Supplier or who are
referred or assigned to Participating Supplier by Northwood, and agrees to provide ail such Covered
Services in accordance with this Agreement and the Group Service Agreement. Participating Supplier
agrees that all such Covered Services shall be rendered in accordance with the generally accepted
standards of practice for Home Care Products and Services,

2.2 Policies and Procedures. Participating Supplier shall adhere to and be bound by all
Northwood's policies, procedures, guidelines, and manual provisions, as set forth in Northwood's current
Participating Provider Manual and as they may exist from time to time, including, but not limited to,
instructions concerning verification of eligibility, coordination of benefits, transfer Policies, quality
assurance and utilization management, peer review, and Northwood's grievance policy and procedures,
provided that such policies and procedures are not inconsistent with this Agreement. Northwood agrees
to apply its policies consistently and to use its good faith efforts to notify Participating Supplier of any
material changes in Northwood's policies which could have a material effect on Participating Supplier.

23 Maintenance of Licenses and Certifications. Participating Supplier shaJ] maintain in
standing al] licenses and certifications required by federal and state law and regulations. Participating
Supplier shall notify Northwood immediately upon loss or suspension of Medicare or Medicaid
certification or termination from the Medicare or Medicaid programs,

2.4 Nondiscrimination. Participating Supplier shall not discriminate against any Covered
Person based upon the frequency or extent of Covered Services needed by the Covered Person,
Participating Supplier shall not unlawfully discriminate in the acceptance or treatment of Covered
Persons because of their religion, race, color, national origin, age, sex, height, weight, marital status, or

physical handicap.

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25 Site Evaluations.

25.1 Government Agency Access, Participating Supplier shall permit on-site
evaluations of Participating Supplier's facilities, offices and records, periodically, as required by
the terms of this agreement, current State and-federal law, regulations, and in accordance with
the provisions of any contracts which may exist between Northwood and Plan Sponsors,
including any and all service agreements in connection therewith. Participating Supplier shall
permit representatives of Northwood and Plan Sponsors, and of any duly authorized state or
federal regulatory agency, to inspect, wpon reasonable notice (or without notice in the case of a

regulatory agency so authorized by law), the premises and equipment uséd by them in their
provision of Covered Services hereunder, and their business and records relating to this
Agreement, and to study all phases of the provision of Covered Services hereunder. Participating
Supplier further agrees to comply with those agencies' recommendations, if any; provided,
however, that Participating Supplier may appeal the agency's decision in accordance with
applicable laws, rules, and regulations and Northwood shall cooperate with Participati
Supplier in any appeal process provided said appeal is not frivolous. During the appeal process,
Participating Supplier shall make a good faith effort to comply with any part of the agency's
recommendation not subject to the appeal. Northwood shall give Participating Supplier
reasonable notice of its intent to conduct a site visit and will give Participating Supplier
reasonable notice of any agency's plans to conduct a site visit if Northwood receives such notice,
2.5.2 Northwood's Access. Participating Supplier will, from time fo time and upon
reasonable notice from Northwood, and subject to applicable laws and rules governing
confidentiality of Covered Persons care and medical records, obtain permission and make
arrangements for Northwood personnel to: {i) inspect Participating Supplier's facilities, offices
and equipment during normal business hours; (ii) inspect and review during normal business
hours the medical records of Covered Persons; (iii) review all home care services provided to
Covered Persons by Participating Supplier; and (iv) obtain copies of Covered Persons' medical

records for quality management and other administrative purposes with reasonable notice
consistent with quality assurance and utilization management and confidentiality policies of
Northwood. Northwood will attempt to limit such reviews and inspections to a random or

selected sampling basis where possible.

2.6 Liability Insurance. Participating Supplier shall maintain Hability insurance through a
comunercial insurance carrier or self-funded program in amounts equivalent to those typically maintained
by similar businesses, including comprehensive general liability insurance in an amount Satisfactory to
Northwood. Participating Supplier shall provide Northwood with proof of insurance required by this
Section upon request. Participating Supplier agrees to notify Northwood £ i if any insurance
policy covering services provided under this Agreement is materially modified or terminated.
Northwood makes no representation that the limits of liability specified in this Paragraph are adequate to
protect Participating Supplier against liability arising from provision of services by the Participating
Supplier pursuant to this Agreement. In the event that Participating Supplier believes that any such
insurance coverage called for under this Agreement is insufficient, Partici ting Supplier shall provide, at
its own expense, such additional insurance as Participating Supplier deems adequate.

2.7 Employee Self-Determination. Participating Supplier acknowledges that Covered Persons
have the right under state and federal law to make decisions regarding medical care, including the right
with the Patient Self-

to accept or refuse life-sustaining treatment. Participating Supplier agrees to comply
get Reconciliation Act of 1990, as amended and applicable

Determination provisions of the Omnibus Bud
state law to the extent these laws apply to services provided by Participating Supplier pursuant to this

Agreement.

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28 Access to Covered Services. Participating Supplier shall organize its provision of Covered
Services to Covered Persons in a manner designed to maximize the accessibility of Covered Services to
Covered Persons under the Program. Participating Supplier shall provide standard business hours and
reasonable provisions for Home Care Products and Services. Participating Supplier shall take steps to
assure that Covered Persons have access to Covered Services on the same basis as other patients of

Participating Supplier.

29 Conformity to Law. Participating Supplier shall provide services in a manner which
conforms to all applicable federal, state and loca] laws, rules and regulations, including laws related to
Jobbying and the influence of federal transactions, and all applicable professional ethical standards; and,
to the extent applicable, Participating Supplier will commit no acts of commission or omission violating or
causing to be violated any provision of the Michigan Third Party Administrator Act, same being MCLA
50.901 seq., by such Supplier or Northwood.

2.10 Professional Practice. Participating Supplier shall be solely responsible for vendering all
equipment, supplies, and services to Covered Persons pursuant to this Agreement in accordance with
accepted industry standards. Participating Supplier acknowledges and accepts that Northwood shall
have no obligation to, or liability for, Participating Supplier's judgement in providing or failing to provide
Home Care Products or Services to Covered Persons in the performance of this Agreement.

211 Group Purchase Agreement. Participating Supplier acknowledges that it may purchase
durable medical equipment, medical supplies and surgical supplies, including replacement, provided to

Covered Person's under the terms of this Agreement through Northwood's group purchasing
arrangement if such equipment and supplies are available.

Tif, OBLIGATIONS OF NORTHWOOD

3.1 Provision of Services. Northwood shall negotiate contracts with Plan Sponsors and other
groups of individuals to arrange for the provision of Covered Services, Northwood cannot guarantee that
it will obtain any minimum number of contracts or Covered Persons or that any minimum number of
Covered Persons will select or be assigned to Participating Supplier. Northwood shal) use its best efforts
to honer the Covered Person's right to choose the Provider of their choice within the Participating

Supplier Network.
3.2 Administrative Services. Northwood, or its designee, shall provide administrative,
accounting, and marketing functions necessary for the development and operation of Northwocd,
including, providing Participating Supplier with reports necessary for the operation of a cost

containment and utilization programs.
IV. MUTUAL OBLIGATIONS OF NORTHWOOD AND PARTICIPATING SUPPLIER

4} Appointment of Coordinators. Northwood and Participating Supplier agree that the
effective functioning of Northwood is dependent upon cost containment and utilization review,
consistent with customary business practices. Participating Supplier shall appoint an individual
acceptable to Northwood to work in coordination with Northwood's President or his/her designee for the
purpose of fulfilling the requirements of this Agreement. The appointed coordinator will respond to
inquiries by Covered Persons about Northwood's procedures and will act as the day-to-day liaison
between Participating Supplier and Northwood regarding Covered Persons' eligibility for services,

4.2 Services to Non-Covered Persons. Northwood and Participating Supplier agree that
Participating Supplier shall be free to provide services to customers other than Covered Persons, and to
contract with any other payment and delivery program.

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43 Grievances. Northwood shall notify Participating Supplier concerning all Covered
Persons' complainis involving it and Participating Supplier shall notify Northwood of any complaint
received from Covered Persons. Participating Supplier shall use good faith efforts to investigate such
complaints, and in consultation with Northwood, shall use its best efforts to resolve them in a fair and
equitable manner. To the extent applicable, Participating Supplier shall participate in and cooperate with
Northwood's grievance policies and procedures and comply with all final determinations provided in
accordance with such policies and determinations. A copy of the Northwood Grievance Procedures is
included in the Provider Manual, a copy of which has been provided to Participating Supplier. Upon
request, Participating Supplier will make available a copy of Northwood's Grievance Procedure contained
in the Northwood Provider Manual.

44 Marketing. Participating Supplier hereby consents to the use of its name, address and
description of its business in Northwood's Inarketing, advertising, or media materials developed and
disseminated by Northwood to Covered Persons, Plan Sponsors, other groups, health care providers, and
the general public. Northwood shall make good faith efforts to notify Participating Supplier and seek
input from Participating Supplier regarding Northwood's marketing pursuant to this Agreement. The
assistance and involvement of Participating Supplier in the marketing of Northwood is mutually
beneficial to both Participating Supplier and Northwood, however, Participating Supplier shall undertake
no marketing, advertising, sales or enrollment activities pertaining to Northwood nor use any written
material in any such activity without Northwood's prior written consent. Participating Supplier
recognizes that this Agreement may be terminated before its term expires and Participating Supplier
agrees that Northwood shall not be liable to Participating Supplier for Northwood's continued use of lists
including the Participating Supplier's name, if such lists were in preparation before Northwood received
notice of Participating Supplier's termination. Participating Supplier shall hold Northwood harmless for
Northwood's reliance upon inaccurate or incomplete information provided by Participating Supplier.

45 Records,

4.5.1 Participating Supplier Records. Participating Supplier shal! maintain adequate
records in accordance with state and federal law and regulations for Covered Persons which
shall, subject to applicable privacy and confident: ity requirements, be made available to any
physician attending the Covered Person, with the Covered Person's written authorization.
Participating Supplier shall make fully available its records pertaining to Covered Persons to
Northwood, when reasonably requested for the purpose of quality assurance and utilization
management, grievances, benefit determinations, credentialing, or other legitimate functions
required by Northwood. Upon termination of this Agreement, or upon Northwood's request and
the Covered Person's consent, Participating Supplier shail transfer a copy of all or any portion of
Covered Persons' records to Northwood or a provider or entity affiliated with Northwood or
designated by Northwood, as permitted by law. The costs of providing copies of records directly
to a Covered Person for personal use not related to the delivery of Covered Services may be billed
to the Covered Person at a reasonable and customary rate of no greater than $.05 per page.
Participating Supplier may not charge Northwood or any Covered Person for any costs related to
providing copies of records except as otherwise permitted in this Agreement.

4.5.2 Northwood Centralized Membership Records, Northwood, or its designee, shall
maintain centralized membership records identifying all Covered Persons by name, schedule of
benefits, and such other information as Northwood shall reasonably determine is necessary or
that is made available to Northwood by a Plan Sponsor, other groups, or programs under the
Group Service Agreement for carrying out the purposes of this Agreement.

45.3 Joint Records. Participating Supplier and Northwood shail cooperate with each
other to maintain such statistical records relating to Covered Services provided under this
Agreement as required by state laws, regulations, and guidelines,

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4.6 Financial Data and Audits. Participating Supplier shall maintain accounting procedures
consistent with standard accounting practices. Participating Supplier will furnish Northwood with such
financial and operating reports concerning the provision of Covered Services by Participating Supplier to

onably require and shall allow Northwood to make reasonable

Covered Persons as Northwood shall reas
inspections of the records used to prepare such reports. Such reports typically include information and

documentation necessary to determine scope and extent of services provided to Covered Persons and
records that would verify patient encounters, medical necessity, proof of transactions and
remittance/ payment. Northwood agrees to keep confidential any financial information it obtains from
Participating Supplier unless disclosure is required by Jaw or has been agreed to by Participating
Supplier. Participating Supplier and Northwood agree to submit to post-payment audits conducted by
the appropriate state and federal agencies or by Northwood in conjunction with the services provided
under this Agreement. Audits conducted by Northwood shall be conducted within the time periods

or Participating Supplier shall have the right to assert

specified in this Agreement. Neither Northwood n
claims against each other based on such audits, if such audits pertain to claims more than 180 days after

the date of service, unless fraud or intentional misrepresentation is established.
4.7 Quality Assurance and Utilization Management.

47.1 Participating Supplier Obligations. Participating Supplier shall provide Covered
Services in a manner consistent with generally accepted industry standards and further agrees to
cooperate with Northwood's policies and procedures for quality assurance and utilization
management. Participating Supplier agrees to perform quality assurance and utilization
management review in accordance with the requirements of state and federal Jaw and to
participate in any quality assurance or utilization management programs established by
Northwood. Participating Supplier recognizes Northwood's right to assure that all quality

related administrative services

assurance, utilization management, benefit determination and
inherent and necessary in a managed health care system comply with applicable state and federal

regulatory requirements and applicable legislation. Participating Supplier acknowledges that it
may be subject to retroactive denial of payment for Participating Supplier services for which
authorization was not obtained and for which authorization was required or where Participating
Supplier is informed by Northwood that continued payment is not guaranteed or that
Northwood intends to suspend continued authorization based upon quality assurance or
utilization management activities conducted by Northwood. Participating Supplier shall comply
with all final payment determinations provided by Northwood.

4.7.2 Northwood Obligations. Northwood agrees to perform quality assurance and
utilization management services required by law in connection with this Agreement. Northwood
acknowledges that the information that it receives as a result of participating in Participating
Supplier's quality assurance and utilization management activities is made confidential under
applicable law. Such information is furnished to Northwood solely to assist Northwood in
conducting its own professional practice review. Northwood and its employees will maintain the
confidentiality of all such information received from Participating Supplier, will use such
information only for quality assurance and utilization management purposes, and will resist any
attempts by third parties to obtain such information except where disclosure is required by law,
this Agreement, or Northwood's Service Agreement.

V. PAYMENT FOR SERVICES

5.1 Rate of Payment. Upon execution of this Agreement, Northwood, or its nominee, is
designated as payee by Participating Supplier. Northwood shall remit an amount to Participating
Supplier as set forth in the fee schedule attached hereto as Exhibit B (the "Fee For Service Rate") less any
applicable co-pay and/or deductible. Participating Supplier agrees to accept reimbursement as set forth

herein as payment in full for Covered Services.
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5.2 Payment Terms. Northwood through the Group Service Agreement shall require
Teimbursement to Northwood within thirty (80) days of receipt by the appropriate Group Service
Agreement Claims Administrator of properly submitted claims for Covered Services provided to Covered
Persons, Upon receipt of payment by Northwood, Northwood shall submit proper payment to the
Participating Supplier within fifteen (15) days thereof.

53 Non-Covered Services. In the event a Covered Person requests services which are Non-
Covered Services, such Non-Covered Services may be provided by Participating Supplier at the Covered
Person's sole cost and expense, provided that Participating Supplier receives a signed release prior to the
provision of services from the Covered Person that it will assume responsibility for the cost of the service.
Participating Supplier agrees not to charge amounts in excess of its normal and customary charge for such
services and shall be under no obligation to furnish services that are not normally and i
provided by it to other patients of the Participating Supplier. In the event Participating Supplier does not
obtain a signed release, Participating Supplier shal! hold Northwood and Covered Person harmless.
Participating Supplier agrees to cooperate with Northwood in resolving any Covered Person grievances

related to the provision of services.
5.4 Claims and Submission. Participating Supplier shall provide Northwood with prompt
itemized statements of Covered Services provided to Covered Persons. These statements must comply
with billing format HCFA 1500, Northwood-approved electronic format or successor format for
professional services. Participating Supplier further agrees to provide Northwood with any additional
information reasonably necessary to evaluate the claim and/or other information regarding the services
provided.
5.5 Hold Harmless. Participating Supplier shall look only to Northwood for compensation
for Covered Services rendered to a Covered Person. Participating Supplier agrees that in no event shall it
bill, charge, collect or attempt to collect a deposit from, seek compensation or remuneration from,
surcharge or have any recourse against a Covered Person for Covered Services, except that this provision
shall not prohibit collection of charges for Non-Covered Services, co-payments or deductibles from the
Covered Person by Participating Supplier as defined in the Coordination of Benefits Section of this
Agreement. Participating Supplier agrees not to maintain any action at law or in equity against a Covered
Person to collect sums that are owed by Northwood, or its designee, to Participating Supplier under the
terms of this Agreement, even in the event Northwood, or its designee, fails to pay, becomes insolvent or
otherwise breaches the terms and conditions of this Agreement. This Section shall survive termination of
this Agreement, regardless of the cause of termination of this and shall be construed to be for
the benefit of Covered Persons. This Section is not intended to apply to services provided after this
Agreement has been terminated, except as otherwise provided in this Agreement, or to apply to Non-
Covered Services. Participating Supplier agrees that this provision supersedes any oral or written
agreement, hereinafter entered into between Participating Supplier and Covered Person or persons acting
on Covered Person's behalf, insofar as such agreement relates to payment for services provided under the

terms and conditions of this Agreement.

5.6 Coordination of Benefits. Any reimbursement paid by Northwood under this Agreement
shall not affect Northwood's right to proceed against any other insurer, co-insurer, or other third party to
recover any payment, co-payment or other monies related to or incident to any claim for Covered
Services. Northwood shall make a good faith effort to seek reimbursement for services to Covered
Persons pursuant to the Jaw or rules of subrogation or the Plan Sponsor's Coordination of Benefits poli .
As appropriate, Participating Supplier shall first seek reimbursement for Covered Services under Titles

XVIII, XIX, and/or V of the Social Security Act.

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Shall continue for a period of one (1) year (the

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VL TERM AND TERMINATION

6.1 Term and Termination. This Agreement is effective as of the date indicated above and
“Initial Term") and thereafter automatically renew for
as provided herein or unless either Northwood

successive one (1) year terms, unless otherwise terminated
notice of termination. Following the completion of

or Participating Supplier gives the other sixty (60) days
one (1) year of the Initial Term, either party shall have the
cause upon sixty (60) days prior written notice to the oth

this Agreement, the non-breaching parti
breaching party sixty (60) days to cure such breach prior to
the breaching party.

Participating Supplier will not be obligated to provi

which the Fee For Service Rate for such Covered Pers

Supplier, provided that, the Participating Supplier has transferred the
Agreement. Northwood shall

right to terminate this Agreement without

any party hereto materially breaches the terms of

6.2 Breach of Agreement. In the event that
ies shall notify the other party of such breach and shall give the
terminating this Agreement with respect to

6.3 Effect of Termination on Provision of Services. In the event this Agreement is terminated,
de services to any Covered Person past the month for

on will cease for the terminating Participating

of Covered Persons in accordance with Section 6.5 of this
has ceased and shall indicate that

Participating Supplier when payment of the Fee for Service Rate
Participating Supplier's obligations under this Agreement are no

longer required.

6.4 Immediate Termination. Either party May terminate this Agreement immediately upon

 

the occurrence of any of the following events:

Participating Supplier obligations shall continue only until
termination or (ii) such time as Northwood has secured an alternative

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a. The other party loses or has suspended or revoked any necessary licensure, or violates

any applicable law or regulation;
b. The other party is denied participation in the Medicare or Medicaid program or is
terminated or suspended from the Medicare or Medicaid program.

65 Contimied Obligations Upon Termination. In the event this Agreement is terminated,
the earlier of (i) sixty (60) days after
Participating Supplier:

Designating Alternative Participating Su tier. Upon receiving notification from

65.1
for designating the alternative

Participating Supplier, Northwood wil] be responsible
Participating Supplier.
6.0.2 Transfer of Records. Participating Supplier shall transfer the records of all
Covered Persons (or a copy thereof produced at Partictpating Supplier expense) which relate to
articipating Suppliers, as designated by

the provision of Covered Services to alternative P;
Northwood, and the Participating Supplier shall cooperate in the transition of service including
coordination of equipment exchange to assure no interruption of service to Covered Persons.
6.5.3 Utilization and Financial Audits. Participating Supplier shall continue to permit
Northwood or its authorized representative to conduct utilization and financial audits in
accordance with Section 4.6 of this Agreement relating to the period when this Agreement was in

effect.

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VU. MISCELLANEOUS

7.1 Ind. dent Contractor Status. Northwood and Participating Supplier shall remain
separate and independent, and shall be considered to be independent contractors. No employee of one
party shall be considered to be an agent, employee, servant or other representative of the other party
because of the terms of this Agreement. Nothing in this Agreement shall be construed to confer upon
Northwood any control over the business of Participating Supplier in furnishing equipment and services

to any Covered Person, except as set forth in this Agreement.
Additional Northwood Programs. Participating Supplier agrees to participate in new or

7.2
additional Northwood programs and benefits when instituted in accordance with the following
procedure:
designate new or additional Northwood programs

7.2.1 Notification. Northwood may

or benefits by notifying Participating Supplier in waiting at least thirty (30) days prior to the
implementation of such new or additional programs or benefits. Such notification shall include a
description of the types of services covered by such programs or benefits and any applicable
compensation schedules. Notification shall be in the form of an amendment and must be signed
and returned to Northwood by the Participating Supplier within the time frame identified on the
notification in order to become effective. Participating Supplier shall be deemed to have apreed
to participate in such new or additional programs or benefits pursuant to the terms of this
Agreement, this Agreement shall be deemed amended in such respect, and all new Covered
Services descriptions and fee schedules shall be annexed to and made a part of Exhibit A and
Exhibit B, respectively, of this Agreement. Should Participating Supplier provide Northwood
with timely notice of its desire not to participate in such new or additional programs or benefits,
Participating Supplier shall have no obligation to participate and this Agreement shall otherwise

continue in effect,

73 Entire Agreement. This Agreement and the documents referenced herein represent the
entire agreement of the parties concerning the subject matter of this Agreement which supersedes all
pricr written or oral agreements on this subject matter, Except as provided in paragraphs 7.2 and 7.4, no
part of this Agreement, including this paragraph, may be amended or supplemented except by an
instrument in writing signed by both Northwood and Participating Supplier.

74 Amendment. Notwithstanding anything in this Agreement to the contrary, Northwood
or Participating Supplier may amend this if necessary in order to comply with applicable
federal or state laws, regulations or guidelines. Such amendments shall be effective fourteen (14) days
after written notification to Northwood or Participating Supplier and Northwood or Partici ting
Supplier shall be deemed to have agreed to such amendment uniess Northwocd or Participating Supplier
provides written notice to Northwood or Participating Supplier to the contrary within seven (7} days of
Northwoods or Participating Supplier's receipt of notice of the amendment. If Northwood and
Participating Supplier are unable to agree to the proposed amendment, either may terminate this
Agreement immediately.

—  F5 Invalid Provision. If any one or more of the
should be invalid, illegal, or unenforceable in any respect, the validity,
remaining provisions shall not be in any way affected.

7.6 Governing Law. This Agreement shall be construed in accordance with the laws of the
State of Michigan.

provisions contained in this Agreement
legality and enforceability of the

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7.7 Notice. Any communication or notice under this Agreement shall be made in writing by
receipted personal delivery or by certified mail, return receipt requested, prepaid, as follows:

To Northwood: To Participating Specialty Supplier:

 

Northwood, Inc.
7277 Bernice

Center Line, Michigan 48015
78 Assignment. Neither Northwood nor Participating Supplier shall assign, sell or otherwise
transfer its interest in or obligations under this Agreement without the Prior written consent of the other.
7.9 Indemnification, Participating Supplier agrees to defend, indemnify, and hold harmless
Northwood, its officers, agents, and employees of and from any and all claims, lawsuits, losses, suits,
liabilities, and costs arising from Participating Supplier's failure, through negligence, intentional actions
uties hereunder, including, without limitation, all costs (including

or clear error, to perform any of its d
actual attorneys fees) of Northweod incurred in defending any such claim. Northwood agrees to defend,
agents and employees of and from any

indemnify and hold harmless Participating Supplier, its officers,
and all claims, lawsuits, losses, suits, liabilities and costs arising from Northwood's failure,
negligence, intentional actions or clear error, to perform any of its duties hereunder, incinding, without
limitations, all costs (including actual attorneys fees) of Participating Supplier incurred in defending any
such claim. Northwood and Participating Supplier shall make its best efforts to mitigate damages and
minimize legal expenses,

fe any rights

7.10 No Third Party Rights. Nothing in this Agreement shall be deemed to crea
in any person or entity not a signatory to this Agreement as a third-party beneficiary or otherwi

7.11 Waiver. No waiver of any terms of this Agreement, at any time, shall constitute a waiver
of the same term at a Jater time. No failure to assert any remedy upon a breach under this Agreement at
any time shall prohibit any party from asserting all of its rights and remedies in the event of a subsequent
breach of the same, similar or different character.

 

 

this Agreement shall be cumulative, and

7.12 Remedies. Each of the remedies provided for in
none shall be exclusive of any other remedies provided under this Agreement.

WITNESS WHEREOF, the undersigned have executed this Agreement on the day and year first above

 

 

 

 

 

 

 

 

 

 

 

IN
written.
WITNESSES: NORTHWOOD, INC.

By:
Its: Sos Its: Kemmeth G. Fasse
Date: Date: _

PARTICIPATING SUPPLIER

by: Clinical LWnond Sp) whoms, Lie
Its: iss Eoie 1 Lame

et

Date: Date: 1-20 -1S
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EXHIBIT A

The standard set of covered services for Plan Sponsors typically includes home care products i
and services

covered by the Federal Medicare Program. Specific information and details comeing covered services
Shall be provided through Northwood to Participating Suppliers per each Plan Sponsor.
Covered Services may vary from Plan to Plan. Orders placed with Northwood's Home Mana

; ay ; . igement Plus
eaegram will be veined wah the Plan unless otherwise indicated on a Northwood authoriza tion/ referral
which is ed to the Participating Supplier. Coverage determination for ord irectly wi
the Provider should be obtained by contacting North ae Sr orders Placed din wath

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EXHIBIT B

FEE SCHEDULE

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Northwood
BUSINESS ASSOCIATE AGREEMENT

This Business Associate Agreement (“Agreement”), effective Ouly 3 a OS
(“Effective Date”), is entered into by and between Northwood, Inc., and
CKinte eines Associate)

Definitions
(a) Business Associate. "Business Associate" shall mean [Insert Name of Business
Associate].
(b) Individual. "Individual" shall mean the same as “individual” in 45 CFR 164.501 and
Shall include a person who qualifies as a personal representative in accordance with
45 CFR 164,502(p),

(c) Privacy Rule. "Privacy Rule" shall mean the Standards for Privacy of Individually
Identifiable Health Information at 45 CFR part 160 and part 164, subparts A and E.

(d) Protected Health Information (PHI). "Protected Health Information" shal! thean the

same as “protected health information" in 45 CFR 164.501, limited to the
information created or received by Business Associate from or on behalf of

Northwood, Inc.

(e) Required By Law. "Required By Law" shall mean the same as "required by law" in
45 CFR 164.501.

(f) Secretary, "Secretary" shall mean the Secretary of the Department of Health and
Human Services (DHHS) or his designee.

Obligations aud Activities of Business Associate

(a) Permitted Uses and Disclosures: Business Associate shall not use or disclose PHI other
than as permitted or required by the Agreement or as Required By Law.

(b) Safeguards: Business Associate shall use appropriate safeguards to prevent use or
disclosure of the PHI other than as provided for by this Agreement.

(c) Mitigation: Business Associate shall mitigate, to the extent practicable, any harmful effect
that is known to Business Associate of a use or disclosure of PHI by Business Associate in

violation of the requirements of this Agreement.

(d) Report Procedure: Business Associate shall report to Northwood, Inc. of any use or
disclosure of the PHI not provided for by this Agreement of which it becomes aware.

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(e) Agents: Business Associate shall ensure that any agent, including subcontractors, to
whom it provides PHI received from (or created or received by Business Associate on behalf
of) Northwood, Inc. agrees to the same restrictions and conditions that apply through this
Agreement to Business Associate with respect to the PHI.

(f) Access to Information: Business Associate shall provide access to, provide copies of
accounts of PHI disclosures according to HIPAA regulations to Northwood, Inc. or an

individual as directed by Northwood, Inc., as and when requested for.
(g) Amendments; Business Associate shall amend PHI that Northwood, Inc. directs to or

agrees to according to HIPAA regulations,
practices, books, records, policies

(h) Availability: Business Associate shall make internal
of PHI received from (or created or

and procedures and PHI, related to use and disclosure
received by Business Associate on behalf of) Northwood, Inc. available to Northwood, Inc.

or to the Secretary for HIPAA compliance determination purposes.

(i) Accounting of disclosures: Business Associate shal! document disclosures of PHI and
information related to disclosures as required by Northwood, Inc. to respond to a request for

an accounting of disclosures according to the HIPAA regulations.
Permitted Uses and Disclosures by Business Associate

Except as otherwise limited in this Agreement, Business Associate may use or disclose PHI
to perform functions, activities, or services for, or on behalf of. Northwood, Inc., provided
that such use or disclosure would not violate the HIPAA Privacy regulations.

Obligations of Northwood, Inc.
any changes in, or revocation of.

(a) Northwood, Inc, shail notify Business Associate of
permission by Individual to use or disclose PHI, to the extent that such changes may

affect Business Associate's use or disclosure of PHL

(b) Northwood, Inc. shall notify Business Associate of any restriction by the individual to
use or disclosure of PHI, to the extent that such restriction may affect Business

Associate's use or disclosure of PHL
Permissible Requests by Northwood, Inc.

Northwood, Inc. shall not request Business Associate to use or discl
that would not be permissible under the Privacy Rule.

ose PHI in any manner

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Term and Termination
(a) Term. The Term of this Agreement shall be effective as of April 14", 2003 and shall

terminate when all of the PHI provided by Northwood, Inc. to Business Associate, or created
or received by Business Associate on behalf of Northwood, Inc., is destroyed or returned to

Northwood, Inc., or the protections are extended to such information, in accordance with the
termination provisions in this Section,

(b) Termination for Cause. Upon Northwood, Inc. knowledge of a material breach by
Business Associate, Northwood, Inc. shall provide an opportunity for Business Associate to
cure the breach or end the violation and terminate this Agreement and any other agreements.

(c) Effect of Termination. Except as provided in following paregraph of this section, upon
termination of this Agreement, for any reason, Business Associate shall return or destroy all
PHI received from Northwood, Inc., or created or received by Business Associate on behalf

of Northwood, Inc. This provision shall apply to PHI that is in the possession of
subcontractors or agents of Business Associate. Business Associate shall retain no copies of
the PHI.

In the event that Business Associate determines that returning or destroying the PHI is
infeasible, Business Associate shall provide to Northwood, Inc. notification of the conditions

that make return or destruction infeasible.

Other Terms

(a) Regulatory References. A reference in this Agreement to a section in the Privacy Rule
means the section as in effect or as amended.

(b) Amendment. The Parties agree to take such action as is necessary to amend this
Agreement from time to time as is necessary for Northwood, Inc. to comply with the
requirements of the Privacy Rule and the Health Insurance Portability and Accountability Act
of 1996.

(c) Survival. The respective rights and obligations of Business Associate under "Effect of
Termination" shall survive the termination of this Agreement.

(d) Interpretation. Any ambiguity in this Agreement shall be resolved to permit Northwood,
Inc. to comply with the Privacy Rule.

Intending to be legally bound, the entities hereto have caused this Agreement to be executed
by their duly authorized representatives.

NORTHVVOOD, INC.

 

 

BUSINESS ASSOCIATE

(Insert Name)

evClica) Wound Solu ms, Licey:

Name: Ware 4 Lane Name: ____Kenneth G. Fasse

 

 

Title: EX eCutne Ure: Heiden Title: President
Date: T-30-|)< Date:

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ATTACHMENT #1
SUBCONTRACTOR saint ACKNOWLEDGMENT

NORTHWOOD, INC.’s
HEALTH PLAN OF WISCONSIN, INC.
GREEMENT

 
 

VENDOR AFFILIATION A:
This is effective as of the of July, 2015 (“Effective
among Security Health of Wisconsin, Inc. (SHI : Ine. (Vi and
(Subcontractor), of durable medical

 

Clinics! Wound Solutions, LC a qualified
equipment, prosthetics, orthotics and medical supplies (DMEPOS).

WHEREAS, SHP, a nonprofit service insurance corporation and health maintenance
Cerered Service to te Meme ena, Wishes to secure the ongoing availability of
Covered Services lem to ensure ongoing compliance with applicable regulatory
and certification provisions.

WHEREAS, Vendor hes entered into a SHP Vendor Affiliation Agreement ‘Agreement)
to provide Covered Services, 23 specifically defined in the Apreemiet te GG nae
(“Members”); aud

WHEREAS, Subcontractor is a ital, institution, facility, group or individual

itioner which has entered into a Paitpeing Supplier Agreement Sabon with
ior to ie durabl tical thet hoti dial i
(DMEPOS) and services to SHP Members; and ™

NOW, THEREFORE, the parties agree as follows:

A. Term of Acknowl ent — This Acknowledgment shall ron concurrently with
Vendor's SHP Utilization Management Agreement. Upon the effective date of this
Acknowledgment, any previously existing direct contract between Subcontractor and
SHP for the provision of Covered Services shall be suspended during the term of the
Agreement and this Acknowledgment. All terms and conditions of the Agreement shall
apply with respect to this Acknowledgment except as specifically invalidated’ or

superseded
B. Payment —- Subcontractor acknowledges and agrees that it will be pai Vendor for
the term of the Subcontiart at Veneer a

ae oe Bee as “Northwood SHP DMEPOS/ Home Infusion Fee Schedule

c. Member Hold-Harmiless - Except in the event that Member has primary coverage with
Fete epee oF third party payet and except for applicable Copayments/Coinsurance or
rendered wader’ the Agreeme aad Subcontract’ aed ie tect sar

e ent to accept payment in
fnoluaine bor t limited fo nonpaynient, i freee breach of the Subomntece tae

i no insolvency or
charge, collect a deposit from, seek payment from, maintain any action at Iaw or in
or have any other recourse against a Member or person (other than Vendor or TPA’
acting on behalf of Member for Covered Services provided pursuant to the Agreement
and Subcontract. This provision does not it Subcontractor from collecting charges

for supplemental b ts or Copayments/Coi i i

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or for non-Covered Services delivered to- Members on a fes-for-seryice basis, This |
provision shell survive ternihation of the Agreement or Subcontract for Covered
Services rendered ptlor to. termination regardless of cause giving rise to such
ténnination and sha Ge constitied to be. for the benefit of the Mem . This provision

oral or written. othe now “or hereafter entered
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the Agresment, the Subcontract, all ‘Northwood’ policies abd: procedures, thit

Acknowledgeinent and all amendments or modifications thereto. fe

E. Medicare Advantage Provisions
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and. Medicaid Sérvices (CMS) of

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Contract) between SHP and the Center for Meédicare

the U.S: entof Health and Hyman Services (HHS).
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2, Medical Recordy~ Subtontrictor shall triaintain accuréte aud ifinely med 5
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Fr) entity a _particufer Members siiall be
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shall provide such information to SHP withmn ten

9) days from the date of request or es shall be fn to-comply with.
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5. MA Member Hold-Harsmtess - bar cht cena parte fe wri
coverage with another’ casrier or third
copayments/coinsurance of deductibles Subeortcntr agrees @ t2 lool lok

ieough Vendor, for payment for Covered Services

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Subcontractor Ol iY no event, including but not limited.

or breach of the Agreement and/or Subsontrac, bill, charge, cle pant a,

seck payment fom, tninian any actin al law of in equity er have other recourse

against a MA Meinber or person (other than Vendor) acting cn } of Meniber'for

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gopayments/coinsurariye. or fees or reasonable dedcfiles pen or for

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provision shall sitrvive termination of the Agreement and/or ecu fee cae
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Obligations. of of Recipients of Federal Funds — Subcontractor acknowledges that
payments t $a Subcontractor purguant to the Subsontract are made, inhale we
Som feder ees mt Sie Aescement anid Sibeontet are pu et al i
wpplicable to en individuals receiving tibcontractor
comply with all iirenicnis of laws licable to recipients of fedéral
including Title YI ef the Civil

, end the- Americans ih Disabilities Act.

1975, the Rehabilitation Actof 1
Delegated Responsibilities - Subcontractor and any subcontractor or other
downstream entity (delegate) to which Subcontractor del tes responsBolities ander
its Subsontrect wi Vader phall ‘pi such réspoipilitics on behalf of MA
HHS instructions

Members in accordance with 9 licable federal Jews, feglations, HHS:
and requirements set forth in the Medicare-. Contrect -‘SHP-jshall be
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a) A a detonate délegated activities and reporting tésponsibilitics;

A vision for the revocation of delegated acti and reporting
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delotmines the delegate’ Sperlormaace 4 is unsatisfactory,
c) Specification that the delegate’s performance is monitored by SHP on en

ongoing basis;

Page 3 of 7

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xd) ification that credentials reyiew process for all medical professionals
stilted with the delegate wil be conducted by: SHE we ieee

Approved by SHP dnd audited by SHP on-an angoing basis;

e) A spenifiortion tort fie det ‘must com ll applicable
ee fication tae the deleg mene comply with all app federal Jaws,

SHP tl na the right to approve, suspend of tenninalé all ssh. delegated.
arrangements:

8. Privacy and Accuracy of Records — Subcontractor
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and confidentiality
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ent will and cemply ansuPs s

contrachial Pr oblipaddons a wit C CMS. 42. CER 422.S04CINCa) CH.

10, ‘Selection of Providers — Jo-the extent SHP del the selection of Subcontractors
endor, SHP retains the right to approve, suspend or tonminale such erreapamnne

2.CER 432 S04(iS).
Ti.D tion ~ SHP only

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12. Medical Mana . and Quslity Im eat Progtam ~ As

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with — CMB ibm le

1, Continuation of Benefits - Subcontractor agrees thal, even in thi everit off iéélvency

or other cessation of operations | bh y SAP or ie Subcontractor will to
provide Covered Servites to’ MA Member tea ough the period for which Mepsbers

app eppHcable presaiunt has’ been been paid atid, ined to an inpatient

Bally, the end ths peas whigh enter $ pret reniee premium has been paid

or thie date of Meuiber's discharge, whichever is tater: This feq equirément.apbiles only

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dlvency. This Supersedes oral or‘wijttex agreement to the! "

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acting on Memiber's behalf, insofur'as s contrary agreement

for payment of Covered Services provided uniex this cantaymation of benefits I

provision.
16. Now literference — Nothing i in this Agretment shall be consinsed to
Mestber abot Mente nay cot. advising or advoceting on ee me :
pleats about Mewnbec's boalls sistas, mod rites, or th opporuniy fe ;
benefits, and consequences of treatment or non-treaiment: or gppertenity for
Member fo refuse treatment or to express. préferentes about ‘future
decisions,
17. Adverse Actions

a) Fe eeteeie Actions or Invest ~ Subcontractor asserts ee baat f
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Subcoritractor tiers relating to-paymiénts giverninental €
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b No Criminal Convictions or Civil Judgments Subcontractor asserts to
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d} Notice of Change of mstances — Subcontractor is coor
Vendor immediately of any ebange in ious

Date of this Attachment #3 ‘which would req © ei

paragraphs 1-3 above.

18: Mandated Amendments - Amendments: to the Agreement which are required
because of Iegislative, regulatory or legat requirements, or-ae due to modifications
réquired by the Wisconsin.Office of tha Commissiqner of Insurance Jo not require
the prior approval of Vendor or Subcontractor, and shall become effictive upon
written’ ziptification of Vendor by SHP, Upon receipt of notive tron: SHP ofsbch
simendment, Vendor shall promptly notify Subcontractor of such aniendment, und

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Appt?

“Ventor’ shall modify the Subcontract Agrésmént as is necessary to effect the

amendment,‘
19. Term and. Termination — This Acknowledgement. shall exist concuitently with the
shall expire ypon

SHP’s Medicare Advantage Contract. and
fit ca enefits provisions set

ternfination of either contrat. Subjeei to Continuation of B
‘forth herein, this Acknowledgement may be terminated without otherwise affecting
continuation of the Agreenient:

a) Termination. This Acknowledgement may be terminated as provided in

Section 9,5 of the Agreement,
igement shall terminate

b) Aufomatic Términstion - This Acknowiled
automatically and iminedistely in the event that Subcositrector ix debarred or

excluded from or ot of paticipstion .in the Medicare program or SHP or
Vendor reasonably beliowes such germination ix necessary to protect the

health or safety of SHP members, fnoluding MA Members. In such case,
Vander ox SEE immediately take stéps 1 transfér Meniber to the cere of

another qualified Affiliated
[Sigueture page-to follow]

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SECURITY HEALTH PLAN OF NORTHWOOD, INC
WISCONSIP) INC.
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By: Julie J. Bnissow By; Kenneth G. Fasse
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VENDOR SUBCONTRACTOR

 

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6996] 10/20/2016 0:00| 120031096000.00/ 995000 180 2013} $482.40] $363.60 $118.80
6996] 10/20/2016 0:00] 120031096000.00| 995q00 16 2187 $2.08} $1.28 $0.80
6996) 10/20/2016 0:00| 120031096000.00| 995000 96 420633) $792.96] $549.12 $243.84
6996 10/20/2016 0:00| 120031096000.00/ 995000 240 9190A| $864.00} $595.20 $268.80
6996] 10/20/2016 0:00] 120031096000.00| 995000 880/ — MSC4004} $352.00 $3.00 $349.00
7017] 10/19/2016 0:00 388306090.00 12 295200} $129.24] $0.00 $103.01
7027) 10/18/2016 0:00] 120182382600.00 12 295300] $128.76] $0.00 $128.76
7027) 10/18/2016 0:00] 120182382600.00 120 3332] $255.60] $44.10 $211.50
7027| 10/18/2016 0:00| 120182382600.00 30 9190A} $108.00] “$0.00 $108.00
7027} 10/18/2016 0:00 +120182382600.00 88) =MSC4002| = $35.20 $0.60 $34.60
7029) 10/18/2016 0:00 +120182382600.00 30 2533} $70.50 $0.00 $70.50
7031) 10/18/2016 0:00] _§4188529900.00| 502159 15 2013} $40.20/ — $0.00 $40.20
7031) 10/18/2016 0:00] —54188529900.00| 502159 30 2187 $3.90] $0.00 $3.90
7031) 10/18/2016 0:00/ _54188529900.00| 502159 40 2419C}_ $16.00] $0.00 $16.00
7031| 10/18/2016 0:00/ ~~ 54188529900.00 502159 60 3332] $127.80! $0.00 $127.80

 

 

 

 

 

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Document received on 10/30/18 7:55 AM Document accepted on 10/30/2018 08:29:23 # 4394367/17N4310041
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7241) 10/19/2016 0:00] 120092490800.00 998100 30} 1806 $3.90 $0.00] $3.90
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7431) 9/12/2016 0:00! 120182382600.00 12 295200] $128.76] $38.44 $0.00
7431| 9/12/2016 0:00] 120182382600.00 60 3332] $127.80] $88.20 $0.00
7431) 9/12/2016 0:00] 120182382600.00 15 9190A} $54.00] $37.20 $0.00
7431) 9/12/2016 0:00] 120182382600.00 12 HB4414| = $99.12 $0.00 $99.12
7431) 9/12/2016 0:00] +120182382600.00 44) Mmsc4o02 $17.60] $13.20 $0.00
7479| 8/8/2016 0:00] 120034919800.00 36 295200) $386.28 $0.00 $386.28
7496) 8/10/2016 0:00] 120217917200.00 80 2419C] — §32.00 $0.00] $32.00
7496) 8/10/2016 0:00] 120217917200.00 36 MTP701| $297.36 $0.00 $297.36
7526| 7/1/2016 0:00] 114194569500.00| 115003 16 2187 $2.08 $1.28 $0.00
7526] 7/1/2016 0:00] 114194569500.00 115003 12 420680] $99.12 $0.00 $99.12
7578| 8/11/2016 0:00| 120031096000.00 995000 880} 36410000] $352.00] $45.00 $307.00
7578| 8/11/2016 0:00] 120031096000.00 995000 96 420633) $792.96] $68.64 $724.32
7578) 8/11/2016 0:00] +120031096000.00 995000 240 $190A| $864.00] $595.20 $0.00
7784| 8/16/2016 0:00 41984162.00 120 3332) $255.60 $44.10 $211.50
7784| 8/16/2016 0:00 41984162.00 28] CRXG-28GM $70.56] $50.96 $0.00)
7786) 8/16/2016 0:00] +120113634800.00 998000 45 420677| $817.65] $376.50 $0.00
7786) 8/16/2016 0:00| 120113634800.00 998000 36 420680] $297.36 $0.00 $297.36
7786) 8/16/2016 0:00] 120113634800.00 998000 45 MAO028/ $1,045.80] $504.60 $0.00
7829| 8/17/2016 0:00 50034215800.00/ 8] MSC8722EP| $185.92 $0.00 $185.92
8254) 9/12/2016 0:00 120004484600.001 240 2419C} $96.00 $0.00 $96.00
8332) 7/19/2016 0:00| —54196969400.00 400655 120 2187| =—$15.60/ $0.00 $15.60
9123] 10/31/2016 0:00/ 50073805800.00 501284. 240} 2236| $465.60 $7.20 $458.40
9123} 10/31/2016 0:00] —50073805800.00 501284 80] 2419C} $32.00 $0.00 $32.00]
9219} 11/2/2016 0:00 388306090.00 12 295200] $129.24 $0.00} $103.01
9328] 11/9/2016 0:00| 120057718400.00 180 2187| $23.40 $0.00} $23.40
9328] 11/9/2016 0:00|_ 120057718400.00 80} 2419C} = §32.00 $0.00] $32.00
9328] 11/9/2016 0:00| 120057718400.00 240] 3332] $511.20 $0.00} $511.20
9328) 11/9/2016 0:00] 120057718400.00 60] 9190A} $216.00 $0.00} $216.00
9328) 11/9/2016 0:00] 1200577184000! 1] MSCc6102| $17.96 $0.00] $17.96
9328] 11/9/2016 0:00] 120057718400.00 30| MSC8544) $697.20 $0.00] $697.20
9989) 7/21/2016 0:00] 124196754500.00 24 295400} $528.72 $0.c0} $528.72
9989] 7/21/2016 0:00] 124196754500.00 60 9190A) $216.00 $0.00 $216.00

 

 

 

 

 

 

 

 

 

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9989) 7/21/2016 0:00] 124196754500.00 60} MSC3044/ $233.20 $0.00 $223.20
9989/ 7/21/2016 0:00] 124196754500.00 88} MSC4002} $35.20 $0.00 $35.20
10098} 6/1/2016 0:00] 124188117200.00 997000 2|  23035017| $188.34 $0.00 $188.34
10100} 7/18/2016 0:00] 100061507500.00 30 2187 $3.90 $0.00 $3.90
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10165| 10/26/2016 0:00 +120067178200.001 6 295300] $64.38 $0.00] $64.38
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10319) 11/16/2016 0:00/ ~50073805800.00 501284 24 187955} $173.52] $59.88 $113.64
10443} 11/21/2016 0:00 388306090.00 60} MSC3044] $2373.80 $0.00 5178.56
10460) 11/18/2016 0:00] 124187564500.00 120 6715| $54.00 $9.60 $44.40
10766) 11/23/2016 0:00| 120218612200.00 4 31515] $54.16 $8.08 $46.08
10766] 11/23/2016 0:00 120218612200.00 60 420677! $1,090.20| $753.00 $0.00
10766) 11/23/2016 0:00] 120218612200.00 60) MSC6444EP| $132.00] $0.00 $132.00}
10795} 11/29/2016 0:00] 120031096000.00 995000 800 2187| $104.00 $0.00 $104.00]
10795) 11/29/2016 0:00| 120031096000.00 995000 240 S190A] $864.00 $0.00 $864.00
10848) 11/28/2016 0:00] 1201826682900.00 12 295300) $128.76 $0.00 $128.76
10848] 11/28/2016 0:00] 1201826682900.00 12 PGO04| $278.88 $0.00 $278.88
10868] 11/1/2016 0:00] 120182382600.00 88} MSsc4o02 $35.20 $0.60 $34.60
10887] 11/30/2016 0:00 388306090.00] 12 295200} $129.24 $0.00 $103.01
10893} 9/7/2016 0:00 124187564500.00 1 2004] $1,015.31 $0.00] $1,015.31
10893| 9/7/2016 0:00} 124187564500.00 2|GWA-3045M| $715.86] $345.87 $369.99
10897| 11/2/2016 0:00/  120140497600.00 60 2187 $7.80 $0.00 $7.80
10897 12/2/2016 0:00] _120140497600.00 120 6715} $54.00] $38.40 $0.00
10897| 11/2/2016 0:00] 120140497600.00 88} MSC4002| 535.20 $0.00 $35.20
10897/ 11/2/2016 0:00] 120140497600.00 5 ZG100P| $10.40 $5.40] $0.00
10962] 11/30/2016 0:00] 120218612200.00 60 420674] $1,090.20 $0.00] $1,090.20
10984] 10/26/2016 0:00 2418678822.00 24 295300] $257.52 $0.00 $257.52
10984) 10/26/2016 0:00 2418678822.00 60 420677| $1,090.20 $0.00] $1,090.20
10984] 10/26/2016 0:00 2418678822.00 352 4240} $140.80 $0.00 $140.80
10984) 10/26/2016 0:00 2418678822.00 60 529312] $1,394.40 $0.00] $1,394.40
11003) 7/18/2016 0:00] 114194896200.00 113003 15 2533 $35.25] $24.45 $0.00
11003| 7/18/2016 0:00] 114194896200.00| 113003 60 3332} $127.80) $44.80 $83.00
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11372} 12/5/2016 0:00] _50015404500.00 195 2187/ = $25.35 $0.00 $25.35
11443| 11/3/2016 0:00] 124187564500.00 120 2187/ $15.60 $0.00 $15.60
11443] 11/3/2016 0:00/ _124187564500.00 8 S14LF] = $15.52 $0.00 $15.52
11443| 11/3/2016 0:00] 124187564500.00 80) NONUNNA4| $112.00 $0.00 $112.00
11447) 11/21/2016 0:00] _ 2418678822.001 24 420633} $198.24 $0.00 $198.24
11447) 11/21/2016 0:00]  2418678822.00 60 420671] $487.80 $0.00 $487.80
11447] 11/21/2016 0:00 2418678822.00| 60 529312] $1,394.40 $0.00] $1,394.40
11447} 11/21/2016 0:00 2418678822,00] 16} MSC4400/ ~—- $12.00 $0.00 $12.00
11447| 11/21/2016 0:00 2418678822.00 8] MSC4400-2/} $15.52 $0.00 $15.52
11447| 11/21/2016 0:00] ~—- 2418678822.00 8} MSC4400-3| «$52.24 $0.00 $52.24
11447/ 11/21/2016 0:00 2418678822.00 8] MSC4400-4 $6.88 $0.00 $6.88
11447) 11/21/2016 0:00] 2418678822.00 80) NONUNNA4| $112.00 $0.00 $112.00
11497| 12/1/2016 0:00] + 120250345600.00 998000 24 295200) $257.52 $0.00 $257.52
11601) 12/8/2016 0:00] 120047658500.00 2} MSC6102} $35.92 $8.08 $27.84
11633) 12/6/2016 0:00] +120004089600.00 30 2187 $3.90 $0.00 $3.90
11633) 12/6/2016 0:00) +120004089600.00 160 2419C] $64.00 i) $0.00
14633/ 12/6/2016 0:00| + 120004089600.00 240 3332} $511.20) $44.10 $467.10
11633| 12/6/2016 0:00] +120004089600.00 60 9190A) $216.00] $74.40 $0.00
11642) 12/6/2016 0:00 124198329000.00| 997000 30 2187 $3.90 $0.00 $3.90
11642] 12/6/2016 0:00 124198329000.00{ 997000 80 2419C| $32.00 $0.60 $31.40
11642] 12/6/2016 0:00 124198329000.00/ 997000) 120 3332| $255.60/ $44.10 $211.50
11642] 12/6/2016 0:00 124198329000.00| 997000 30 420677} $545.10] $376.50 $168.60
11642] 12/6/2016 0:00 124198329000.00] 997000] 30 9190A} $108.00] $74.40 $0.00
11685] 12/5/2016 0:00] 114194569500.001 115003 12 420680] $99.12 $0.00 $99.12
11710} 12/6/2016 0:00] 54188529900.00 502159 120 3332} $255.60] $44.10 $211.50
11710) 12/6/2016 0:00 54188529900.00 502159 30 7663} $80.40] $60.60 $0.00
11710) 12/6/2016 0:00] ~~ 54188529900.00 502159 2} MSC6102} $35.92 $0.00 $35.92
11710) 12/6/2016 0:00] _54188529900.00 502159 4) _MSC8544) = $92.96] $67.28 $0.00
11968) 12/14/2016 0:00/ 120031096000.00 995000 440| wsc4o04| $176.00 $0.00 $176.00
12083) 11/11/2016 0:00] +120229671000.00 24 295200] $257.52 $0.00 $257.52
12083} 11/11/2016 0:00] 120229671000.00 60| 420671] $487.80 $0.00 $487.80
|___ 12166] 12/19/2016 0:00/  120140497600.00 60] 2187 $7.80 $4.80 $3.00

 

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12166} 12/19/2016 0:00] 120140497600.00 120 3332) $255.60| $44.10 $211.50
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12166] 12/19/2016 0:00] 120140497600.00 12 HB4414) $99.12] $67.64 $31.48
12166} 12/19/2016 0:00 120140497600.00 88] MSc4002/ $35.20] $26.40 $8.80
12166] 12/19/2016 0:00} 120140497600.00 5 ZG50P/_$10.40/ —«§2.16 $8.24
12171) 12/20/2016 0:00| —_54188529900.00| 502159 120 2187| $15.60] $0.00] $15.60
12171) 12/20/2016 0:00 54188529900.00] 502159 240 2236] $465.60| $0.00] $465.60
12174) 12/20/2016 0:00] _54188529900.00| 502159 60 420677/ $1,090.20] $0.00! $1,090.20
12171) 12/20/2016 0:00] _54188529900.00| 502159 60 9190A| $216.00] $0.00 $216.00
12497| 12/22/2016 0:00] 120034919800.00 12 295400] $264.36 $0.00 $264.36
12661) 12/27/2016 0:00] 120040092700.00 60 2187 $7.80} $0.00 $7.80
12661) 12/27/2016 0:00] 120040092700.00 30 9190A} $108.00/ $0.00 $108.00
12723} 12/28/2016 0:00[ _50073805800.00| 501284 24 187955] $173.52] $0.00] $173.52
12800] 12/5/2016 0:00 120047658500.00 30 2012} $70.50) $0.00 $70.50
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12800} 12/5/2016 0:00| 120047658500.00 80 2419C|] $32.00] $0.60 $31.40
12800| 12/5/2016 0:00] 120047658500.00 480 3332] $1,022.40] $44.10 $978.30
12800} 12/5/2016 0:00] 120047658500.00 12 HB4414) $99.12; 568.64 $0.00
12984] 12/9/2016 0:00| 50117908600.00 1 2004) $1,015.31] $0.00 $1,015.31
12984] 12/9/2016 0:00/ —50117908600.00 2| GWA-3045S|} $715.86] $432.34 $283.52
13065] 1/4/2017 0:00 124187194500.00| 993000 90 403771} $526.50] $0.00 $526.50
13140] _ 1/5/2017 0:00| _120250345600.00| 998000 30 2187 $3.90] $0.00 $3.90
13140] 1/5/2017 0:00| _120250345600.00| 998000 24 295200} $257.52/ $0.00 $257.52
13140} 1/5/2017 0:00 120250345600.00| 998000] 12 295300) $128.76] $0.00 $128.76
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13367) 1/9/2017 0:00] +124036321500.00 12 303] $218.04] $0.00 $218.04
13367/ 1/9/2017 0:00] 124036321500.00 12 900404) $218.04] $0.00 $218.04
13425} 12/27/2016 0:00| —120031096000.00| 995000 180] 2013) $482.40| $0.00 $482.40
13425) 12/27/2016 0:00] 120031096000.00 995000) 800] 2187| $104.00/ $0.00 $104.00
13425 12/27/2016 0:00] —120031096000.00! 995000 96 420633) $792.96] $0.00 $792.96
13425) 12/27/2016 0:00] 120031096000.00| 995000 240 9190A| _$864.00/ $0.00 $864.00
13425] 12/27/2016 0:00| 120031096000.00| 995000 880) — MSC4004/ ~$352.00/ $0.00 $352.00
13472} 1/13/2017 0:00] 120029404700.00 4 500503} $32.44] $0.00 $32.44
13693) 1/4/20170:00| —_-3415763935.00 24 187955] $173.52] $0.00 $173.52

 

 

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13693] 1/4/2017 0:00 3415763935.00 120 2187 $15.60 $0.00 $15.60
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13693| 1/4/2017 0:00 3415763935.00 160 2419C $64.00 $0.00 $64.00
13693} 1/4/2017 0:00 3415763935.00 4) MSC6102 $71.84 $0.00 $71.84
13693] 1/4/2017 0:00 3415763935.00 60) _MSC8522| $1,394.40 $0.00 $1,394.40
13848] 1/17/2017 0:00 5405614858.00 sO 2187 $11.70 $0.00 $11.70
13848] 1/17/2017 0:00 5405614858.00 80 2419C $32.00 $0.00 $32.00
13848] 1/17/2017 0:00 9405614858.00 120 3332] $255.60 $0.00 $255.60
13848) 1/17/2017 0:00 5405614858.00 15 420677] $272.55 $0.00 $272.55
13922] 1/20/2017 0:00] 114194569500.00/ 115003 12 420680 $99,12 $0.00 $99.12
13922] 1/20/2017 0:00 114194569500.00| 115003 12 MAQO28] $278.88 $0.00 $278.88
14016} 1/25/2017 0:00 5405614858.00 40 2419C $16.00 $0.00 $16.00
14016] 1/25/2017 0:00 5405614858.00 10 4584C $8.60 $0.00 $8.60
14257| 1/30/2017 0:00 120053397900.00| 993000 12 420677| $218.04 $0.00 $218.04
14257| 1/30/2017 0:00 120053397900.00] 993000 12 420680 $99.12 $0.00 $99,12
14261] 1/26/2017 0:00 124036321500.00 60 2187 $7.80} $0.00 $7.80
14261| 1/26/2017 0:00 124036321500.00 120} 3332} $255.60 $0.00 $255.60
14261] 1/26/2017 0:00 124036321500.00 30] 9190A| $108.00 $0.00 $108.00
14362) 1/20/2017 0:00 50073805800.00] 501284 24 187955} $173.52 $0.00 $173.52
14509} 2/1/2017 0:00 1420284312.00 30} 91904} $108.00] $0.00 $108.00
14670] 2/7/2017 0:00 124202319100.00 30 2012 $70.50 $0.00 $70.50
14727| 8/9/2016 0:00 124198265400.00 12 295400] $264.36 $0.00 $264.36
14727| 8/9/2016 0:00 124198265400.00 12} HBRS4520) $264.36 $0.00 $264.36
15081) 2/8/2017 0:00 142983611.00 2| _23034017| $188.34 $0.00 $188.34
15214) 2/7/2017 0:00) 5405614858.00 30 2012 $70.50 $0.00 $70.50}
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15216} 2/1/2017 0:00 124202319100.00 120 2236] $232.80 $0.00 $232.80
15216} 2/1/2017 0:00 124202319100.00 80) 2419C $32.00] $24.00 $0.00
15216] 2/1/2017 0:00 124202319100.00 30] 529311) $697.20| $504.60 $0.00

 

 

 

 

 

 

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45216] — 2/1/2017 0:00] 124202319100.00 2] _MSC6102] $35.92 $8.08 $0.00
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15256] 2/9/2017 0:00] + 120145374000.00 30 9190A| $108.00 $0.00 $108.00
15521) 10/24/2016 0:00] 100150726400.00 1 2004] $1,015.31 $0.00] $1,015.31
15521) 10/24/2016 0:00} 100150726400.00 2|GWA-3045M] $715.86 $0.00 $715.86
15625] 2/14/2017 0:00] 120140497600.00 60 2187 $7.80 $0.00 $7.80
15625) 2/14/2017 0:00] 120140497600.00 120 2236| $232.80 $0.00 $232.80
15625] 2/14/2017 0:00| +120140497600.00 12 HB4414| $99.12 $0.00 $99.12
15625| 2/14/2017 0:00| 120140487600.00 88] MSC4002 $35.20 $0.00 $35.20
15630] 2/14/2017 0:00 124198329000.00| 997000 30 2012 $70.50 $0.00 $70.50
15630} 2/14/2017 0:00 124198329000.00] 997000 60 2187 57.80 $0.00 $7.80
15630| 2/14/2017 0:00] +124198329000.00! 997000 80 2419C} $32.00 $0.00] $32.00
15630] 2/14/2017 0:00 124198329000.00| 997000 120} 3332| $255.60 $0.00} $255.60
15630) 2/14/2017 0:00] 124198329000.00 997000 30} 91904] $108.00 $0.00 $108.00
15665] 2/14/2017 0:00 388306090.00 30 9190A| $108.00 $0.00 $86.40
15665] 2/14/2017 0:00 388306090.00 88} MSC4002) $35.20 $0.00] $28.16
15750) 2/10/2017 0:00] +120031096000.00 995000 180 2013} $482.40 $0.00 $482.40
15750| 2/10/2017 0:00] +120031096000.00 995000] 96 420633] $792.96 $0.00 $792.96
45750| 2/10/2017 0:00] 120031096000.00 995000) 1320 4210] $528.00 $0.00 $528.00
15750| 2/10/2017 0:00] 120031096000.00| 995000 240 9190A] $864.00 $0.00 $864.00
15752| 2/10/2017 0:00|  120031096000.00 995000 520 3332| $1,107.60 $0.00} $1,107.60
16174) 2/22/2017 0:00 _50073805800.00 501284 352 4210| $140.80 $0.00 $140.80
16221) 2/23/2017 0:00| 120218612200.00 60 420674] $1,090.20 $0.00} $1,090.20
16221) 2/23/2017 0:00] +120218612200.00 60} MSC6444EP/ $132.00 $0.00 $132.00
16421) 2/20/2017 0:00] +124198411600.00 60 2187 $7.80 $4.80 $0.00
16421) 2/20/2017 0:00| 124198411600.00 120 2236] $232.80 $0.00 $232.80
16421) 2/20/2017 0:00] 124198411600.00| 2| MSC6102} $35.92 $8.08 $0.00
16421) 2/20/2017 0:00| +124198411600.00 30] _MSC8544) $697.20] $504.60 $0.00
16517] 2/28/2017 0:00] + 50034215800.00 24 295400| $528.72 $0.00] $528.72
16517| 2/28/2017 0:00| + 50034215800.00 176 4210} $70.40 $0.00} $70.40
16669] 3/1/2017 0:00 5405614858.00 14 2012 $32.90 $0.00] $32.90
16669] 3/1/2017 0:00 5405614858,00] 60 2187 $7.80 $0.00 $7.80

 

 

 

 

 

 

 

 

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16669} 3/1/2017 0:00 5405614858.00 40 2419C/ $16.00 $0.00 $16.00]
16669} 3/1/2017 0:00 5405614858.00 10 4584C $8.60 $0.00 $8.60)
16669} 3/1/2017 0:00 5405614858.00 14) MSC8544| $325.36 $0.00 $325.36
16705} 3/2/2017 0:00 110088453300.00/ 113003 8 295200} $85.84 $0.00 $85.84
16705| 3/2/2017 0:00 110088453300.00] 113003 8 420677! $145.36 $0.00 $145.36
16709] 3/2/2017 0:00 50034215800.00 24 294199] $198.24 $0.00 $198.24
16709) 3/2/2017 0:00] _50034215800.00 176] MSc4004) ~—-$70,40 $0.00 $70.40
16775| 3/3/2017 0:00 114197357800.00| 115006 60 2187 $7.80 $0.00 $7.80
16775| 3/3/2017 0:00 114197357800.00| 115006 120 3332} $255.60 $0.00 $255.60
16775| 3/3/2017 0:00| 114197357800 00 115006 30 9194A/ $210.00 $0.00 $210.00
16775| _ 3/3/2017 0:00|" 114197357800.00 115006 176| MSC4004| $70.40 $0.00 $70.40|
17036] 3/8/2017 0:00! _50061528800.00 4 187955] $28.92 $0.00 $28.92
17100) 3/8/2017 0:00| 1201826682900.00 12 295400] $264.36 $0.00 $264.36
17100] 3/8/2017 0:00 1201826682900.00] 12 900404) $218.04 $0.00 $218.04
17104) 3/8/2017 0:00] 120106209500.00 12 295400) $265.44 $0.00 $211.49
17104) 3/8/2017 0:00] 120106209500.00 12} HBRS4520/ $265.44 $0.00 $211.49
17130} 3/9/2017 0:00 120036162700.00 60 1806 $7.80 $0.00 $6.24
17130) 3/9/2017 0:00! 120036162700.00 80 2419C)} $32.00] — $0.00 $25.60
17130} 3/9/2017 0:00 120036162700.00 2| MSC6102) $35.92 $0.00 $28.74
17424! 3/13/2017 0:00 120145374000.00] 40 8535C} $16.00] $12.00 $0.00
17424| 3/13/2017 0:00] 120145374000.00 30 91904} $108.00 $0.00 $108.00
17438] 3/14/2017 0:00 50034215800.00 88} _MSC4002| $35.20 $0.00] $35.20
17755| 3/21/2017 0:00 5405614858.00] 60 2187 $7.80 $0.00} $7.80
17755|_.3/21/20170:00| __5405614858.00 40] 2419C/ $16.00 $0.00 $16.00
17755| 3/21/2017 0:00 5405614858.00] 10} 4584C $8.60 $0.00 $8.60
17755| 3/21/2017 0:00 5405614858.00 14) MSC8544) $325.36 $0.00] $325.36
17792| 3/24/2017 0:00 50061528800.00 12 5055] $264.36 $0.00 $264.36
17929) 3/27/2017 0:00] _ 50073805800.00 501284 60 9194A} $420.00 $0.00 $420.00
17931| 3/27/2017 0:09 50073805800.00/ 501284 176} Msc4oo4{ «$70.40 $0.00 $70.40
18003} 12/8/2016 0:00 124190533900.00| 20 8483) $189.60 $0.00 $189.60
18260) 3/31/2017 0:00] _120095236000.00 995000 12 420677| $218.04] $150.60 $0.00
18260/ 3/31/2017 0:00 120095236000.00 995000 12 420680} $99.12 $0.00 $99.12
18392) 3/29/2017 0:00] 120031096000.00 995000 176 4210] $70.40 $0.00 $70.40
18672] 4/7/2017 0:00 124187472800.00 14 420677| $254.38 $0.00} $254.38

 

 

 

 

 

 

 

 

 

 

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18727| 3/29/2017 0:00 124187472800.00 105 2187 $123.65 $8.40 $0.00
18727| 3/29/2017 0:00 124187472800.00 80 2419C€ $32.00 $0.60 $31.40
18727| 3/29/2017 0:00 124187472800.00 120 3332} $255.60| $44.10 $211.50
18727) 3/29/2017 0:00 124187472800.00 15 420677} $272.55] $188.25 $0.00
18727] 3/29/2017 0:00 124187472800.00 15 91904 $54.00] $37.20 $0.00
18963] 4/10/2017 0:00 124194361100,00 28 2187 $3.64 $2.24 $0.00
18963) 4/10/2017 0:00 124194361100.00 40 2419€ $16.00 $0.60 $15.40
18963] 4/10/2017 0:00 124194361100.00 56 3332} $119.28 $0.00 $119.28
18963] 4/10/2017 0:00 124194361100.00 10 4584¢ $8.60 $2.32 $0.00
18963} 4/10/2017 0:00 124194361100.00 14 9190A 950.40] $34.72 $0.00
18963] 4/10/2017 0:00 124194361100.00 1} MSC6102 $17.96 $4.04 $13.92
18963] 4/10/2017 0:00 124194361100.00 6} _Mscas44] $139.44) $100.92 $0.00
18965| 4/6/2017 0:00/ 12003 1096000.00/ 995000 180 2013} $482.40] $363.60 $0.00
18965] 4/6/2017 0:00 120031096000.00] 995000 520 3332] $1,107.60] $191.10 $916.50
18965] 4/6/2017 0:00] 12003 1096000.00] 995000 96 420633) $792.96] $549.12 $0.00
18965) 4/6/2017 0:00 120031096000.00] 995000 1320 4210] $528.00 $4.50 $523.50
18965) 4/6/2017 0:00 120031096000.00} 995000 240 9190A} $864.00] $595.20 $0.00
18978] 4/11/2017 0:00] 18015 1442600,00 2} GS-3045M| $715.86 $0.00 $715.86
18997) 4/12/2017 0:00 1201826682900.00 12 420680 $99.12 $0.00 $99.12
18997] 4/12/2017 0:00 1201826682900.00 12) 8884433605 $32.16 $0.00 $32.16
159032! 4/6/2017 0:00 120031096000.00] 995000 2 1254 $3.00 $0.00 $3.00
19032! 4/6/2017 0:00 120031096000.00] —s95000 3 145516 $21.99 $0.00 $21.99
19032] 4/6/2017 0:00/ 12003 1096000.00) 995000 3} 170630180 $45.57 $0.00 $45.57
19032] 4/6/2017 0:00) 12003 1096000.00} 995000 3 802031 $25.62 $0.00 $25.62
19037) 4/12/2017 0:00 120005417200.00 40) 2419¢ $16.00 $0.30 $15.70
19037| 4/12/2017 0:00 120005417200.00 48 3332] $102.24] $17.64 $84.60
19037) 4/12/2017 0:00 120005417200.00 12 91904 $43.20] $29.76 $0.00
19037! 4/12/2017 0:00 120005417200.00 1} MSC6102 $17.96 $4.04 $0.00
19037] 4/12/2017 0:00 120005417200.00 12) _MSC8544| $278.88 $201.84 $0.00
19048] 4/12/2017 0:00 120044866300.00 20 1914¢ $8.00 $0.60 $7.40
19048) 4/12/2017 0:00 120044866300.00 12 295300] $128.76] $88.44 $0.00
19048] 4/12/2017 0:00 120044866300.00 12| HBRS4520| $264.36 $182.40 $0.00
19193] 4/14/2017 0:00 124194361100.00 56 3332} $119.28] $41.16 $78.12
19193) 4/14/2017 0:00 124194361100.00 14 7662 $32.90] $22.82 $0.00

 

 

 

 

 

 

 

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19203] 4/14/2017 0:00 124187472800.00 60 2013} $160.80! $0.00 $160.80
19205] 4/14/2017 0:00| 124187472800.00 90 9150A} $324.00] $37.20 $286.80
19274) 4/17/2017 0:00| 124036321500.00 60 303} $1,090.20 $0.00] $1,090.20
19274) 4/17/2017 0:00} 124036321500.00 240 3332} $511.20 $0.00 $511.20
19274) 4/17/2017 0:00 124036321500.00 60 900404) $1,090.20] $0.00/ $1,090.20
19274) 4/17/2017 0:00] 124036321500.00 60 9190A} $216.00] $0.00 $216.00
19276| 4/17/2017 0:00] +124196754500.001 30 HB2214| $247.80] $68.64 $179.16
19276] 4/17/2017 0:00] 124196754500.00 88} MSC4002} $35.20 $0.60 $34.60
19329] 4/18/2017 0:00 124198329000.00 997000 24 2187 $3.12 $0.00 $3.12
19329] 4/18/2017 0:00 124198329000.00| 997000 40 2419C} $16.00 $0.00 $16.00
19329] 4/18/2017 0:00] 124198329000.00| 997000 56 3332) $119.28 $0.00 $119.28
19329] 4/18/2017 0:00 124198329000.00| 997000 14 9190A| $50.40/ $0.00 $50.40
19422] 4/20/2017 0:00] 120121757000.00 36 403771] $210.60] $145.44 $0.00
19422) 4/20/2017 0:00| +120121757000.00 24 420680| $198.24 $0.00 $198.24
19422! 4/20/2017 0:00] 120121757000.00 12 MAO28| $278.88] $201.84 $0.00
19422) 4/20/2017 0:00| 120121757000.00 1} MSC6102| $17.96 $4.04 $0.00
19456] 4/20/2017 0:00] 120145374000.00 120 3332] $255.60] $44.10 $211.50
19456] 4/20/2017 0:00] 120145374000.00 30} 529968R} $545.10! $376.50 $0.00
19456] 4/20/2017 0:00] 120145374000.00 80 8535C}_ $32.00] $24.00 $0.00
19456) 4/20/2017 0:00] 120145374000.00 30 9180A} $108.00] $74.40 $0.00
19476] 4/19/2017 0:00] 114197357800.00 115006 60 2187 $7.80 $0.00 $7.80
19476] 4/19/2017 0:00] 114197357800.00 115006 88; MSC4004| $35.20 $0.00] $35.20
19517| 4/20/2017 0:00] 114197357800.00 115006 7|__MSC8522| $162.68 $0.00] $162.68
19574| 4/21/2017 0:00] 124187472800.00 14 420677] $254.38] $12.55 $241.83
19657] 4/21/2017 0:00] 124194361100.90 84 3332} $178.92] $20.58 $158.34
19657| 4/21/2017 0:00|  124194361100.00 15 4584C|} $12.90 $1.74 $11.16
196S7| 4/21/2017 0:00] 124194361100.00 21 9190A) $75.60/ $34.72 $40.88
19657} 4/21/2017 0:00] 124194361100.001 21) MSC8544) $488.04) $100.92 $387.12
19667| 4/19/2017 0:00] 124036321500.00 10 303} $181.70 50.00 $181.70
19673} 4/25/2017 0:00| 120113868100.00 12 509372) $105.00 $0.60 $105.00
19778) 4/24/2017 0:00} +120008377000.00 * 99560 45 2187 $5.85 $0.00 $5.85
19778| 4/24/2017 0:00] +120008377000.00 99560 56 2236| $108.64 $0.00 $108.64
19778) _4/24/2017-0:00] 120008377000.00 99560 40 2419C} $16.00 $0.00 $16.00
19778) 4/24/2017 0:00] 120008377000.00 99560 56 420677| $1,017.52 $0.00] $1,017.52

 

 

 

 

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19778] 4/24/2017 0:00 120008377000,00 99560 28 $190A} $100.80 $0.00 $100.80
19778] 4/24/2017 0:00 120008377000.00 99560 14 9194A $98.00 $0.00 $98.00
19829| 4/27/2017 0:00 34198807200.00] 400719 105 2187 $13.65 $0.00 $13.65
19829) 4/27/2017 0:00 54198807200.00] 400719 30 4584C $25.80] $0.00 $25.80
19829] 4/27/2017 0:00 54198807200.00/ 400719 92 6715 $41.40 $0.00 $41.40
19834) 4/26/2017 0:00 114195566000.00/ 115003 6 187955 $43,338 $0.00 $43.38
19834] 4/26/2017 0:00 114195566000.00] 115003 15 900404) $272.55 $0.00 $272.55
19852] 4/28/2017 0:00 124194361100.00 80} 2419C $32.00 $0.00 $32.00
19852} 4/28/2017 0:00 124194361100.00 30 7662 $70.50 $0.00 $70.50
19852! 4/28/2017 0:00 124194361100.00 30) MSC6044] $154.80 $0.00 $154.80
20054) 5/2/2017 0:00 124198329000.00/ 997000 14 2012 $32.90 $0.00 $32.90
20072| 5/2/2017 0:00 120140497600.00 60 2187 $7.80 $0.00 $7.80
20072] 5/2/2017 0:00 120140497600.00 120 6715 $54.00 $0.00 954.00
20109} 5/2/2017 0:00 124194361100.00 2|__ MSC6102 $35.92 $0.00 $35.92
20214) 5/4/2017 0:00 114195566000.00/ 115003 12 295200} $128.76 $0.00 $128.76
20268| 5/1/2017 0:00 124190533900.00 20 8483} $189.60 $0.00 $189.60
20282] 5/5/2017 0:00 124187472800.00 40 2419C $16.00 $0.00 $16.00
20282! 5/5/2017 0:00 124187472800.00 2 420677 $36.34 $0.00} $36.34
20452) 5/4/2017 0:00 120119148200,00} 12 295300] $128.76 $0.00 $128.76
20454] 5/9/2017 0:00| 12002 6509600.00 12 187955 $86.76 $0.00 $86.76
20454] 5/9/2017 0:00 120026509600.00 30} _MSC8522) $697.20 $0.00 $697.20
20456] 5/4/2017 0:00 120000084000.00 12 295200) $128.76 $0.00 $128.76
20458] 5/9/2017 0:00 124198329000.00] 997000 30 2013 $80.40 $0.00 $80.40
20458} 5/9/2017 0:00 124198329000.00| 997000 120 2187 $15.60 $0.00 $15.60
20458] 5/9/2017 0:00 124198329000.00| 997000 40 2419C $16.00 $0.00 $16.00
20458] 5/9/2017 0:00 124198329000.00/ 997000 120 3332] $255.60 $0.00 $255.60
20458) 5/9/2017 0:00 124198329000.00] 997000 60 329312) $1,394.40] $0.00 $1,394.40
20458] 5/9/2017 0:00 124198329000.00| 997000 30 9190A| $108.00] $0.00 $108.00
20458| 5/9/2017 0:00 124198329000.00| 997000 1} —MSC6102 $17.96 $0.00 $17.96
20550] 5/10/2017 0:00 120106209500.00 120 3332] $256.80 $0.00 $204.48
20550} 5/10/2017 0:00] 120106209500.00} 80 8535C $32.00 $0.00 $25.60
20550} 5/10/2017 0:00 120106209500.00 30 9190A| $108.30) $0.00 $86.40
20596} 5/9/2017 0:00 114187357800.00] 115006 24 2187 $3.12 $0.00 $3.12
20596] © 5/9/2017 0:00 114197357800.00| 115006 14 .9190A $50.40 $0.00 $50.40

 

 

 

 

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20596} 5/9/2017 0:00 114197357800.00/ 115006 14) MSC8522] $325.36 $0.00] $325.36
20744) 5/9/2017 0:00] 120018252800.00 30 2012 $70.50] $48.90 $0.00
20744) 5/9/2017 0:00 120018252800.00 60 2187 $7.80 $4.80 $0.00
20744] 5/9/2017 0:00 120018252800.00 120 2236| $232.80 $0.00 $232.80
20744) 5/9/2017 0:00 120018252800.00 80 2419C} $32.00 $0.60 $31.40
20744| 5/9/2017 0:00 120018252800.00 3] MSC6102! $53.88] $12.19 $0.00
20744) 5/9/2017 0:00| 120018252800.00 30} MSc8544] $697.20! $504.60 $0.00
20793) 5/15/2017 0:00] 120008377000.00 99560 45 2187 $5.85 $0.00 $5.85
20793} 5/15/2017 0:00] 120008377000,00 99560 56 2236) $108.64 $0.00 $108.64
20793] 5/15/2017 0:00| 120008377000.00 99560 40 2419C] $16.00 $0.00 $16.00
20793] 5/15/2017 0:00] 120008377000.00 99560 28 9190A} $100.80 $0.00 $100.80
20793| 5/15/2017 0:00] 120008377000.00 99560 14 91944) $98.00 $0.00 $98.00
20830) 5/16/2017 0:00] 124198329000.00 997000 7 420674| $127.19 $0.00 $127.19
21021) 5/18/2017 0:00] —50034215800.00 30 PGO04| $697.20 $0.00 $697.20
21023) 5/18/2017 0:00] 124187472800.00 40 2419C} $16.00 $0.30 $15.70
21023) 5/18/2017 0:00] 124187472800.00 14 420674) $254.38! $175.70 $0.00
21025] 5/18/2017 0:00 124187472800.00 56 2236] $108.64 $0.00 $108.64
21132) 5/19/2017 0:00] 1201826682900.001 12 295300] $128.76] $88.44 $0.00
21132] 5/19/2017 0:00] 1201826682900.00 60 3332] $127.80) $22.05 $105.75
21132) 5/19/2017 0:00] 1201826682900.00 15} _529968R| $272.55] $198.25 $0.00
21132) 5/19/2017 0:00] 1201826682900.00 40| 8535C| $16.00 $0.30 $15.70
21132] 5/19/2017 0:00 1201826682900.00 15 9190A} $54.00] $37.20 $0.00
21400| 5/24/2017 0:00] 7447296074.00 15 2012) = $35.25 $0.00 $35.25
21400] 5/24/2017 0:00 7447296074.00 30 2013} $80.40 $0.00 $80.40
21400] 5/24/2017 0:00 7447296074.00 60} 2187 $7.80 $0.00 $7.80
21400] 5/24/2017 0:00 7447296074.00 40] 2419C} $16.00 $0.00 $16.00
21400| 5/24/2017 0:00 7447296074.00 120 3332] $255.60 $0.00 $255.60
21400} 5/24/2017 0:00 7447296074.00 15 9190A} 554.00 $0.00 $54.00
21400} 5/24/2017 0:00 7447296074.00 30 9194A| $210.00] $0.00 $210.00
21561) 5/30/2017 0:00 124187472800.00 56 2236} $108.64 $0.00 $108.64.
21568] 5/26/2017 0:00 120218612200.00 12 509381/ $99.12 $0.00 $99.12
21568) 5/26/2017 0:00] 120218612200.00 12 509382| $264.36 $0.00 $264.36
21570] 5/30/2017 0:00| 124185756400.00 15 2012} = $35.25 $0.00 $35.25
21570} 5/30/2017 0:00 124185756400.00 30 2187 $3.90 $0.00 $3.90

 

 

 

 

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n t received on 10/40/18 7-55 AM Dacument accented an 1N/20/INT2 12-70-92 # AIDA
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Case: 1:18-cv-07916 Document #: 112 Filed: 10/16/20 Page 46 of 64 PagelD #:508

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21570} 5/30/2017 0:00 124185756400.00 60 2236] $116.40 $0.00 $116.40
21570] 5/30/2017 0:00 124185756400.00 40 2419C] $16.00 $0.00 $16.00
21574] 5/30/2017 0:00 124193783500.00 15} 529968R/ $272.55 $0.00 $272.55
21574! 5/30/2017 0:00 124193783500.00 40 8535C] $16.00 $0.00 $16.00
21574| 5/30/2017 0:00| 124193783500.00 15 9190A} $54.00 $0.00 $54.00
21756] 6/1/2017 0:00] 1201826682900.00 30 302} $545.10 $0.00 $545.10
21756] 6/1/2017 0:00 1201826682900.00/ 12| 8884433605 $32.16 $0.00 $32.16
21756) 6/1/2017 0:00] 1201826682900.00 30 9190A} $108.00 $0.00 $108.00
21905] 6/6/2017 0:00 114194569500.00 115003 12 420680| $99.12 $0.00 $99.12
21934) 6/5/2017 0:00] +120095236000.00 995000 12 420677) $218.04 $0.00 $218.04
21934) 6/5/2017 0:00] 120095236000.00 995000 12 420680| $99.12 $0.00 $99.12
22088 6/8/2017 0:00] 120100950000.00 12 295200] $128.76 $0.00 $128.76
22106) 6/7/2017 0:00] 124194361100.00 56 3332} $119.28] §20.58 $98.70
22106) 6/7/2017 0:00 124194361100.00 14 7662 $32.90] $22.82 $0.00
22106| 6/7/2017 0:00] 124194361100.00 14 91904 $50.40] §34.72 $0.00
22187| 6/12/2017 0:00 124189710600.00 120 6715 $54.00 50.00 $54.00
NON21448
22187| 6/12/2017 0:00] 124189710600.00 60} PACK $7.80 $0.00 $7.80
22197) 6/12/2017 0:00 120034919800.00 36 295300! $386.28 $0.00 $386.28
22258] 6/13/2017 0:00| 1201826682900.00 120} 3332] $255.60] $22.05 $233.55
22369) 5/18/2017 0:00| 120031096000.00 995000 180} 2013] $482.40 $0.00 $482.40
22369] 5/18/2017 0:00] 120031096000.00 995000 520] 3332] $1,107.60 $0.00] $1,107.60
22369| 5/18/2017 0:00] 120031096000.00 995000 96 420633} $792.96 $0.00 $792.96
22369| 5/18/2017 0:00 120031096000.00 995000 1320 4210] $528.00 $0.00 $528.00
22369/ 5/18/2017 0:00] +120031096000.00 995000 240 9190A| $864.00 $0.00} $864.00
22393} 6/15/2017 0:00] 124198329000.00 997000 80 2419C| $32.00 $0.00] $32.00]
22393] 6/15/2017 0:00] 124198329000.00 997000 30 420674) $545.10/ $0.00 $545.10}
22393| 6/15/2017 0:00| 124198329000.00 997000 30} PRM214S0| $108.00 $0.00 $108.00]
22415| 6/15/2017 0:00] +120050258500.00 120 2236| $232.80 $0.00 $232.80
22415) 6/15/2017 0:00] 120050258500.00 1} 61-59120 $2.08 $0.00 $2.08
22415] 6/15/2017 0:00 120080258500.00 88} MmMsSc4002 $35.20 $0.00 $35.20
NON21448
22415) 6/15/2017 0:00] +120050258500.00 120 PACK $15.60 $0.00 $15.60
22453| 6/15/2017 0:00 120107541600.00 6 MAO028| $139.44 $0.00 $139.44

 

 

 

 

 

 

 

 

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22453) 6/15/2017 0:00 120107541600.00 6 PGO04) $139.44 $0.00 $139.44
22800! 6/22/2017 0:00 124187472800.00 7 420677| $127.19 $0.00 $127,19
NON21448
22800) 6/22/2017 0:00] 124187472800.00 14 PACK $1.82 $0.00 $1.82
22800| 6/22/2017 0:00 124187472800,00 7|_ PRM21450| $25.20 $0.00 $25.20
22802] 6/22/2017 0:00 124187472800.00 7| NON25498 $3.15 $0.00 $3.15
22838} 6/23/2017 0:00 120004484600.00 60} 2013} $160.80 $0.00 $160.80
22998] 6/28/2017 0:00 120106209500.00 60 3332} $128.40; $0.00 $102.24
22998] 6/28/2017 0:00 120106209500.00 15} PRM21450| $54.15 $0.00 $43.20
23066} 6/27/2017 0:00 124036663100.00 12 187955] $86.76 $0.00 586.76
23154] 6/30/2017 0:00 3421706832.00 120 1806] $15.60 $0.00 $15.60
23154) 6/30/2017 0:00 3421706832.00 176; MSC4004 $70.40 $0.00 $70.40
NON21448
23154! 6/30/2017 0:00 342170§832.00 120 PACK] $15.60 $0.00 $15.60
23158] 6/29/2017 0:00 50185671600.00 6 420677| $109.02 $0.00] $109.02
23158} 6/29/2017 0:00{ _ 50185671600.00 6 420680} $49.56 $0.00 $49.56
23224) 6/30/2017 0:00] 120044866300.00 12 281200) $128.76 $0.00 $128.76
23232| 7/5/2017 0:00 124193750100.00 6 295300] $64.38 $0.00 $64.38
23232} 7/5/2017 0:00 124193750100.00 6 900404| $109.02 $0.00 $109.02
23399| 7/6/2017 0:00 120106209500.00 30} PRM21450|/ $108.30 $0.00 $86.40
23419] 7/6/2017 0:00 120100950000.00] 12 295200| $128.76 $0.00 $128.76
23448) 7/7/2017 0:00 120119148200.00 30} MSC3044] $111.60 $0.00 $111.60
23553} 7/10/2017 0:00 124198265400.00 12 295300] $128.76 $0.00 $128.76
23553] 7/10/2017 0:00 124198265400.00 6 900404} $109.02 $0.00] $109.02
23555] 6/26/2017 0:00 120008377000.00] 99560 80 2419C} $32.00 $0.00 $32.00
23555] 6/26/2017 0:00 120008377000.00] 99560 14 9194A| $98.00 $0.00 $98.00
NON21448
23555| 6/26/2017 0:00] _120008377000.00 99560 45 PACK $5.85 $0.00 $5.85
23555| 6/26/2017 0:00 120008377000.00/ 99560 14) NON25498 $6.30 $0.00 $6.30
23555) 6/26/2017 0:00 120008377000.00] 99560 28] PRM21450/ $100.80 $0.00 $100.80
23620] 7/12/2017 0:00 120040092700.00 15 420677| $272.55 $0.00 $272.55
23714] 7/13/2017 0:00 120218612200.00 12 509381) §99.12 $0.00 $99.12
23714] 7/13/2017 0:00 120218612200,00 12 509382} $264.36 $0.00 $264.36
23728] 7/13/2017 0:00 124198329000.00| 997000 56 3332] $119.28 $0.00) $119.28

 

 

 

 

 

 

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Ds ent received on 10/30/18 AM Document accented an 10/20/9018 12-70. AIO.
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23728) 7/13/2017 0:00 124198329000.00] 997000 14) PRM21450 $50.40 $0.00 $50.40
23840| 7/14/2017 0:00 124185756400.00 40 2419C $16.00 $0.00 $16.00
23840] 7/14/2017 0:00 124185756400.00 24 509372) $210.00 $0.00 $210.00
23840| 7/14/2017 0:00 124185756400.00 48| NON25498 $21.60 $0.00 $21.60
NON21448
23892] 7/17/2017 0:00 114194569500.00| 115003 30 PACK $3.90) $0.00 $3.90
24009) 6/30/2017 0:00 114197357800.00| 115006 1} 61-59245 $2.13 $0.00 $2.13
24009] 6/30/2017 0:00 114197357800.00] 115006 88) MSC4004 $35.20 $0.00 $35.20
NON21448
24009| 6/30/2017 0:00 114197357800.00| 115006 14 PACK $1.82 $0.00 $1.82
24013) 7/5/2017 0:00 114197357800.00] 115006 120 9416C $48.00 $0.00 $48.00
24362) 7/24/2017 0:00 50163049701.00 1) 61-59145 $2.13 $0.00 $2.13
24362| 7/24/2017 0:00 50163049701.00 176} MSCc4004 $70.40 $0.00 $70.40
NON21448
24362| 7/24/2017 0:00 50163049701.00 40 PACK $5.20 $0.00 $5.20
24439) 7/27/2017 0:00 120070370200.00 60) 3332} $127.80 $0.00 $127.80
24439} 7/27/2017 0:00 120070370200.00 10 4584C $8.60 $0.00 $8.60
24439] 7/27/2017 0:00 120070370200.00 1S MA028} $348.60 $0.00 $348.60
24523] 7/26/2017 0:00 1201826682900,00 12 295300] $128.76 $0.00} $128.76
24523) 7/26/2017 0:00 1201826682900.00 120 3332] $255.60 $0.00 $255.60
24651] 8/1/2017 0:00 124187339000.00 12 420633 $99.12 $0.00} $99,12
24651) 8/1/2017 0:00 124187339000.00 30 420677| $545.10 $0.00 $545.10
24651| 8/1/2017 0:00 124187339000.00 30 MA028/} $697.20 $0.00 $697.20
24651) 8/1/2017 0:00 124187339000.00 176} =MSC4004 $70.40 $0.00 $70.40
24658| 7/21/2017 0:00] 12003 1096000.00) 995000 2 1254 $3.00 $0.00 $3.00
24658] 7/21/2017 0:00 120031096000.00] 995000] 3 145516 $21.99 $0.00 $21.99
24658] 7/21/2017 0:00 120031096000.00] 995000 3| 170630180 $45.57 $0.00 $45.57
24658) 7/21/2017 0:00 120031096000.00] 995000 240 3332} $511.20 $0.00 $511.20
24658] 7/21/2017 0:00 120031096000.00} 995000) 56 420633] $462.56 $0.00 $462.56
24658] 7/21/2017 0:00 120031096000.00/ 995000 1320 4210} $528.00 $0.00 $528.00
24658) 7/21/2017 0:00 120031096000.00] 995000 3 802031 $25.62 $0.00 $25.62
NON21448
24658) 7/21/2017 0:00 120031096000.00| 995000 224 PACK $29.12 $0.00 $29.12
24658} 7/21/2017 0:00 120031096000.00| 995000 168} PRM21450| $604.80 $0.00 $604.80

 

 

 

 

 

 

 

 

 

acument received an cument accented on 10/20/9012 08-20-92 # AZDAILINANADI ANE TAD
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24692! 8/1/2017 0:00] 124196754500.00 176 4210] $70.40 $0.00 $70.40
24692| 8/1/2017 0:00| 124196754500.00 12} HBRS4520/ $264.36 $0.00 $264.36
NON21448
24738| —_8/2/20170:00| 124189710600.00 90 PACK $11.70 $0.00 $11.70}
24740) 8/2/2017 0:00| 124189710600.00 30} PRM21450| $108.00] $0.00 $108.00
24746| 8/2/2017 0:00| 120073963700.00 6 295200 $64.38 $0.00 $64.38
24776| _ 8/2/2017 0:00] +120058155700.00 995000 240 3332} $511.20 $0.00 $511.20
24776| _ 8/2/2017 0:00] 120058155700.00 995000 160 8535¢ $64.00] $0.00 $64.00
24776] 8/2/2017 0:00] 120058155700.00 995000] 60} 8884433605] $160.80 $0.00 $160.80
24776| _ 8/2/2017 0:00] 120058155700.00 985000) 60] PRM21450| $216.00 $0.00 $216.00
NON21448
24797) _8/2/20170:00| 120042290100.00 120 PACK] $15.60] — $0.00 $15.60
24797| 8/2/2017 0:00| 120042290100.00 240/ NON25865| $108.00 $0.00 $108.00
24970) _ 8/3/2017 0:00! +124198329000.00 997000 80 2419C} $32.00 $0.00 $32.00
24970) 8/3/2017 0:00| _124198329000.00 997000 30} PRM21450| $108.00 $0.00 $108.00
25010| 8/4/2017 0:00] +120008377000.00 99560 120 3332| $255.60 $0.00 $255.60
25019| 8/1/2017 0:00 114197357800.00 115006 1} 61-59245 $2.13 $0.00 $2.13
25019} 8/1/2017 0:00] 114197357800.00 115006 120 9416C| $48.00 $0.00 $48.00
NON21448
25019] 8/1/2017 0:00] 114197357800.00 115006 14 PACK $1.82 $0.00 $1.82
25019} 8/1/2017 0:00] 114197357800.00| 115006 7| PRM21450] = $25.20 $0.00 $25.20
25032| 7/13/2017 0:00| 1201826682900.00 30 303} $545.10 $0.00 $545.10
25032| 7/13/2017 0:00| 1201826682900.00 12] 8884433605 $32.16 $0.00 $32.16
25032! 7/13/2017 0:00/ 1201826682900.00 30} PRM21450| $108.00 $0.00 $108.00
25084) 8/8/2017 0:00] +120119148200.00 120 3332| $255.60 $0.00 $255.60
25084] 8/8/2017 0:00| 120119148200.00 80 8535C $32.00 $0.00 $32.00
25084) 8/8/2017 0:00/ 120119148200.00 30} PRM21450| $108.00] $0.00 $108.00
25315] 8/10/2017 0:00| +114193958900.00 115003 12 420627| $128.76 $0.00 $128.76
25315| 8/10/2017 0:00 114193958900.00 115003 12 420677| $218.04 $0.00 $218.04
25315| 8/10/2017 0:00] 114193958900.00 115003 12 529311! $278.88 $0.00 $278.88
25407| 8/10/2017 0:00] —50034215800.00 30 MA028] $697.20 $0.00 $697.20
25433) 8/11/2017 0:00] 180170627000.00 88} MSC4002 $35.20 $0.00 $35.20
NON21448
25433| 8/11/2017 0:00 180170627000.00} 60 PACK $7.80 $0.00 $7.80

 

 

 

 

 

 

 

 

 

 

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25438] 8/14/2017 0:00 120250345600.00/ 998000 36 295200] $386.28 $0.00 $386.28
25616| 8/15/2017 0:00 50163049701.00 8 1823 $85.84 $0.00 $85.84
25616} 8/15/2017 0:00 50163049701.00 80 2419C $32.00 $0.00 $32.00
NON21448
25616] 8/15/2017 0:00 50163049701.00 90 PACK $11.70 $0.00 $11.70
25616} 8/15/2017 0:00 50163049701.00 5 ZG25P $10.40 $0.00 $10.40
25662! 8/17/2017 0:00 120218612200.00 24 509382) $528.72 $0.00 $528.72
25662| 8/17/2017 0:00 120218612200.00 60 HB4414} $495.60] $0.00 $495.60
25662| 8/17/2017 0:00 120218612200.00 60 PG004| $1,394.40 $0.00 $1,394,40]
25717| 8/18/2017 0:00 120050258500.00 60 1806 $7.80 $0.00 $7.80
25717| 8/18/2017 0:00 120050258500.00 88) MSCc4002 $35.20 $0.00 $35.20
25717| 8/18/2017 0:00 120050258500.00 3 ZG25P $10.40 $0.00 $10.40
25877| 8/22/2017 0:00 120109237100.00 30 31045) $545.10] $0.00 $545.10
25877| 8/22/2017 0:00 120109237100.00 12 420680 $99.12 $0.00 $99.12
25877! 8/22/2017 0:00 120109237100,00 60 6715 $27.00 $0.00 $27.00
25877| 8/22/2017 0:00 '120109237100.00 88) Msc4004 $35.20 $0.00 $35.20
NON21448
25877| 8/22/2017 0:00 120109237100.00 30 PACK $3.90] $0.00 $3.90
25877| 8/22/2017 0:00 120109237100.00 15} PRM21450 $54.00 $0.00 $54.00
25944) 8/22/2017 0:00 124198329000.00| 997000 120} NON25498 $54.00 $0.00 $54.00
25944] 8/22/2017 0:00 124198329000.00] 997000 30} PRM21450| $108.00 $0.00 $108.00
26157) 8/25/2017 0:00 120008377000,00 99560 160 2419C $64.00 $0.00 $64.00)
26157| 8/25/2017 0:00 120008377000.00] = 99560] 120 3332] $255.60 $0.00 $255.60
26157] 8/25/2017 0:00 120008377000.00 99560 30] 9194A|} $210.00 $0.00} $210.00
NON21448
26157] 8/25/2017 0:00 120008377000.00 99560 60 PACK $7.80 $0.00 $7.80
26157] 8/25/2017 0:00 120008377000.00 99560 60] PRM21450| $216.00 $0.00 $216.00
26211) 8/29/2017 0:00 110112510600.00] 48 271500} $228.96 $0.00 $228.96
26211] 8/29/2017 0:00 110112510600.00 48 420635] $1,057.44 $0.00} $1,057.44
26211/ 8/29/2017 0:00 110112510600.00 43 420677) $872.16 $0.00 $872.16
26220) 8/29/2017 0:00 120095236000.00| 995000 8 420680] $66.08 $0.00 $66.08
26220] 8/29/2017 0:00 120095236000.00| 995000 8 MA028] $185.92 $0.00 $185.92
26222] 8/29/2017 0:00 114194569500.06/ 115003 24 420680} $198.24 $0.00 $198.24

 

 

 

 

 

 

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TA/AN/IN1E 82.90.92 # AANAAETINANADI ANE

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NON21448
26222) 8/29/2017 0:00 114194569500.00] 115003 30 PACK $3.90 $0.00 $3.90
26335| 8/31/2017 0:00 180170627000.00 120 3332] $255.60 $0.00 $255.60
26454] 8/31/2017 0:00 120163777700.00 12 295300] $128.76 $0.00 $128.76
26454| 8/31/2017 0:00 120163777700.00 12} HBRS4520| $264.36 $0.00 $264.36
26456) 8/31/2017 0:00| 120016993800.00 995000 30} 2533} $70.50 $0.00 $70.50
| 26456 8/31/2017 0:00] 120016993800.00 995000 120 3332] $255.60 $0.00 $255.60
26456] 8/31/2017 0:00] 120016993800.00 995000 30 420677| $545.10 50.00 $545.10
26554| 8/30/2017 0:00] 1201826682900.00 30| 8884433605} $80.40 $0.00 $80.40]
26622| 9/6/2017 0:00 210294 60 2013} $160.80 $0.00] $160.80
26622| 9/6/2017 0:00 210294 240 6715| $108.00 $0.00 $108.00

NON21448
26622} 9/6/2017 0:00 210294 120 PACK} $15.60 $0.00 $15.60]
26622} 9/6/2017 0:00 210294 60) PRM21450| $216.00 $0.00 $216.00
27139] 9/15/2017 0:00/ 120016000400.00 60} 2236] $116.40 $0.00 $116.40
27139) 9/15/2017 0:00 120016000400.00 40 2419C $16.00 $0.00 $16.00
27139] 9/15/2017 0:00!" 120016000400.00 1} _MSC6102} $17.96 $0.00 $17.96
27139| 9/15/2017 0:00] 120016000400.00 15} PRM21450/ $54.00 $0.00 $54.00
27168) 9/15/2017 0:00 114193958900.00| 115003 12 295400} $264.36 $0.00 $264.36
27168) 9/15/2017 0:00 _114193958900.00 115003 12 420677| $218.04 $0.00 $218.04
27168) 9/15/2017 0:00] 114193958900.00 115003 12 529311] $278.88 $0.00 $278.88
27340| 9/20/2017 0:00 1201826682900.00 120 3332] $255.60 $0.00 $255.60
27490) 9/22/2017 0:00] _120016000400.00 60 2236] $116.40 $0.00 $116.40
27490| 9/22/2017 0:00| 120016000400.00 40 2419C| = $16.00 $0.00 $16.00]
27490| 9/22/2017 0:00| _120016000400.00 1} MSC6102} $17.96 $0.00 $17.96
27490) 9/22/2017 0:00] 120016000400.00 15] PRM21450/ $54.00 $0.00 $54.00
27494) 9/22/2017 0:00] 124198329000.00 997000 36} NON25498| $25.20 $0.00 $25.20
27642) 9/26/2017 0:00| _180170627000.00 120 3332] $255.60 $0.00 $255.60
27642! 9/26/2017 0:00 180170627000.00| 90 403771| $526.50 $0.00 $526.50
27642] 9/26/2017 0:00| 180170627000.00 88) Msc4002| $35.20 $0.00 $35.20

NON21448
27642) 9/26/2017 0:00 180170627000.00) 60 PACK $7.80] _ $0.00] $7.80
27662! 9/27/2017 0:00| 120250345600.001 998000 12 295200) $128.76 $0.00 $128.76
27812| 9/29/2017 0:00] 120143795700.00 40 2419C|} $16.00 $0.00 $16.00

 

 

 

Document received on 10/30/18 7:55 AM Document accepted on 10/30/2018 08:29:23 # 4394367/170431095191
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27812| 9/29/2017 0:00 120143795700.00 28 3332| $59.64 $0.00 $59.64
27812) 9/29/2017 0:00 120143795700.00 7 420677| $127.19 $0.00 $127.19
27812! 9/29/2017 0:00 120143795700.00 7|_PRM21450| $25.90 $0.00 $25.20
27814) 9/29/2017 0:00 120047882800.00 12 295300] $128.76 $0.00 $128.76
28043) 10/5/2017 0:00 124204938500,00 24 420680} $198.24 $0.00 $198.24]
NON21448
28043) 10/5/2017 0:00 124204938500.00 30 PACK $3.90 $0.00 $3.90
28055} 10/5/2017 0:00 120016993800.00/ 995000) 30 420677| $545.10 $0.00 $545.10
28132} 10/6/2017 0:00 114194569500.00] 115003 24 420680| $198.24 $0.00 $198.24
28169} 10/9/2017 0:00| _54190693000.00 60 3332] $127.80 $0.00 $127.80
28169] 10/9/2017 0:00] 54190693000.00 40 8535C| $16.00 $0.00 $16.00
28174] 10/9/2017 0:00 120161684500.00 6 295200} $64.38 $0.00 $64.38
28187| 10/3/2017 0:00 50040025400.00 60] 6715 $0.00 $0.00 $5.40
NON21448
28187) 10/3/2017 0:00] _50040025400.00 120} PACK $0.00 $3.12 $0.00
28339) 10/12/2017 0:00 120057408800,.00 120 6715} $54.00 $0.00 $54.00
NON21448
28339] 10/12/2017 0:00 120057408800.00 60 PACK $7.80 $0.00 $7.80
28343] 10/12/2017 0:00 120143795700.00 120 2236] $232.80 $0.00 $232.80
NON21448
28343] 10/12/2017 0:00 120143795700,00 60 PACK $7.80 $0.00 $7.80
28343) 10/12/2017 0:00 120143795700.00 30} PRM21450| $108.00 $0.00 $108.00
NON21448
28357] 10/12/2017 0:00] 120059787300.00 60 PACK $7.80 $0.00) $7.80
28357] 10/12/2017 0:00 120059787300.00 120} NON25498| $54.00 $0.00 $54.00
28447! 10/4/2017 0:00 7447296074.00 80 2419C} $32.00 $0.00} $32.00
28447| 10/4/2017 0:00 7447296074.00 112 3332) $238.56 $0.00 $238.56
28447| 10/4/2017 0:00 7447296074.00 28 420677] $508.76 $0.00 $508.76
28447! 10/4/2017 0:00 7447296074.00 28} PRM21450] $100.80 $0.00 $100.80
28456] 10/13/2017 0:00 114193958900.00| 115003 12 420619] $128.76 $0.00 $128.76
28456| 10/13/2017 0:00 114193958900.00] 115003 24 420677| $436.08 $0.00 $436.08
28456] 10/13/2017 0:00 114193958900.00] 115003 12 420680 $99.12 $0.00 $99.12
28514) 10/17/2017 0:00| 124187339000.00 12 420633 $99.12 $0.00 $99.12
28514| 10/17/2017 0:00 124187339000.00 30 420677| $545.10 $0.00 $545.10

 

 

 

 

 

 

 

 

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Document received on 10/30/18 7:55 AM Document accented on 10/30/2018 08:29:23 # 4204247/17N421N04101
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28514) 10/17/2017 0:00] 124187339000.00 176 4210} $70.40 $0.00 $70.40]
28514! 10/17/2017 0:00 124187339000.00 30 MA028| $697.20 $0.00 $697.20
28694| 10/17/2017 0:00! 124198329000.00 997000 120) NON25498/ $54.00 $0.00 $54.00
28970) 10/26/2017 0:00 120163777700,00 12 295300] $128.76 $0.00 $128.76
29005] 10/24/2017 0:00 124190533900.00 20 8483] $189.60 $0.00 $189.60
29012) 10/24/2017 0:00] 120047281300.00 12 420681] $99.12 $0.00 $99.12
29084) 10/31/2017 0:00! 124185510000.00 90 2187| $11.70 $0.00 $11.70
29084! 10/31/2017 0:00! 124185510000.00 80 2419C| $32.00 $0.00 $32.00
29084] 10/31/2017 0:00! 124185510000.00 120 3332] $255.60 $0.00 $255.60
29084! 10/31/2017 0:00] 124285510000.00 12] 420633} «= $99.12 $0.00 $99.12
29441| 11/7/2017 0:00! 120161684500.00 6 295200} $64.38 $0.00 $64.38
29614| 10/26/2017 0:00] 120218612200.00 24 509382] $528.72 $0.00 $528.72
29614) 10/26/2017 0:00] 120218612200.00 24 HB4414) $198.24 $0.00 $198.24
29741) 11/9/2017 0:00| 120095236000.00 995000 24 420680| $198.24 $0.00 $198.24
29804) 11/13/2017 0:00 _54188419400.00 4 500503] $32.44 $0.00 $32.44
29815] 11/14/2017 0:00 1201826682900.00 120 3332; $255.60 $0.00 $255.60
29815) 11/14/2017 0:00] 1201826682900.00 30} 8884433605] $80.40 $0.00 $80.40
29815] 11/14/2017 0:00] 1201826682900.00 30 9190A/ $108.00 $0.00 $108.00
29817 11/14/2017 0:00] 1201826682900.00 60 2533] $141.00 $0.00 $141.00
29864] 11/16/2017 0:00] 120020353800.00 80 2419C} $32.00 $0.00 $32.00
29864] 11/16/2017 0:00 120020353800.00| 30 7662} $70.50 $0.00 $70.50
30001) 11/22/2017 0:00] 120076320400.00 40 2419C| $16.00 $0.00 $16.00
30001) 11/22/2017 0:00] 120076320400.00 15 7662} = $35.25 $0.00 $35.25
30004| 11/22/2017 0:00] 120076320400.00 15} ™SC8522/ $348.60 $0.00 $348.60
30004} 11/22/2017 0:00| 120076320400.00 2} MSC9301EP| $35.92 $0.00 $35.92
30144) 11/21/2017 0:00 403898102.00 90 2012 $0.00 $0.00 $42.48
30144) 11/21/2017 0:00 403898102.00 60 2187 $0.00 $0.00 $1.56
30144] 11/21/2017 0:00 403898102.00 240 2419¢ $0.00} $0.00 $19.20
30144] 11/21/2017 0:00 403898102.00 240 3332 $0.00] $0.00 $102.72
30144] 11/21/2017 0:00 403898102.00) 60 9190A $0.00 $0.00 $43.32
30144| 11/21/2017 0:00 403898102.00 2} MSC6102 $0.00 $0.00 $7.21
30144! 11/21/2017 0:00 403898102.00 60} MSC8522 $0.00 $0.00 $279.96
30144] 11/21/2017 0:00 403898102.00 30} MSCa8544 $0.00 $0.00 $139.98
30146) 11/21/2017 0:00} 124198329000.00 997000 40 2419€} _$16.00/ $0.00 $16.00

 

 

 

 

 

 

 

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Doacrment received an 1/20/12 7-46 AM Daenmant areented an 10/20/9N1 0 no.
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30146| 11/21/2017 0:00 124198329000.00] 997000 60 3332] $127.80] $0.00 $127.80]
30185] 11/27/2017 0:00 124198329000.00] 997000 30 529312] $697.20] $0.00 $697.20
30185) 11/27/2017 0:00 124198329000.00/ 997000 30 9190A} $108.00 $0.00 $108.00
30185] 11/27/2017 0:00 124198329000.00/ 997000 2} MSC6102 $35.92 $0.00 $35.92
30345} 12/1/2017 0:00 1201826682900.00 12 295400} $264.36 $0.00 $264.36
30517} 11/30/2017 0:00 114193958900,00] 115003 24 420677| $436.08 $0.00 $436.08
30517] 11/30/2017 0:00 114193958900.00/ 115003 24 420680} $198.24 $0.00 $198.24
30563} 12/4/2017 0:00] 120004484600.00 14 2012 $32.90 $0.00 $32.90
30563] 12/4/2017 0:00 120004484600.00 28 2187 $3.64 $0.00 $3.64
30565} 12/4/2017 0:00 120004484600.00 80 2419€ $32.00 $0.00 $32.00
30565} 12/4/2017 0:00 120004484600.00 56 3332] $119.28 $0.00 $119.28
30565] 12/4/2017 0:00 120004484600.00 14 420674) $254.38 $0.00] $254.38]
30681] 12/7/2017 0:00 120095236000.00} 995000 60 2187 $7.80 $0.00 $7.80
30681! 12/7/2017 0:00 120095236000.00/ 995000 24 420677| $436.08 $0.00 $436.08
30681] 12/7/2017 0:00 120095236000.00| 995000 24 420680} $198.24 $0.00 $198.24
30681) 12/7/2017 0:00 120095236000.00| 995000 24 MAQ28| $557.76 $0.00 $557.76
30736] 12/7/2017 0:00 120072317800.00 6 295300 $64.38 $0.00 $64.38
30736) 12/7/2017 0:00 120072317800.00 6 529968R} $109.02 $0.00 $109.02
30861) 12/12/2017 0:00} 34188419400.00 80 2419C $32.00 $0.00 $32.00
30861) 12/12/2017 0:00 54188419400.00 24 420633 $198.24 $0.00 $198.24
30861} 12/12/2017 0:00 24188419400,00 60 420675} $487.80 $0.00 $487.80
30861) 12/12/2017 0:00 54188419400.00 4 500503 $32.44 $0.00 $32.44
30957] 12/14/2017 0:00 1201826682900.00 120 3332} $255.60 $0.00] $255.60
30957] 12/14/2017 0:00 1201826682900.00 30] 8884433605 $80.40 $0.00) $80.40
30957| 12/14/2017 0:00 1201826682900.00 30 9194A} $210.00 $0.00 $210.00
30959] 12/14/2017 0:00 1201826682900.00 60 2533] $141.00 $0.00 $141.00
30983} 12/14/2017 0:00 120119148200.00 12 187955 $86.76 $0.00 $86.76
31133] 12/15/2017 0:00 124197993500.00 30 900404) $545.10 $0.00 $545.10
31133] 12/15/2017 0:00 124197993500.00 30; MscC3044 $111.60] $0.00 $111.60
| 31169 12/18/2017 0:00 120018616400.00 60 2012} $141.00 $0.00 $141.00
31169) 12/18/2017 0:00 120018616400.00 120 2236| $232.80 $0.00 $232.80
31169} 12/18/2017 0:00 120018616400.00 4] MSC6102 $71.84 $0.00 $71.84
31169} 12/18/2017 0:00 120018616400.00 30] PRM21450| $108.00 $0.00 $108.00
31376] 12/22/2017 0:00 114193958900.00| 115003 12 420619} $128.76 $0.00 $128.76

 

 

29° S101
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31460| 12/26/2017 0:00] _124198329000.00| 997000 240 2236] $465.60] $0.00 $465.60
31766) 1/4/2018 0:00] _124187739100.00 6 295200] $64.38/ $0.00 $64.38
31896] 1/11/2018 0:00| 124036663100.00 12 187955} $86.76] $0.00 $86.76
31936] 1/12/2018 0:00] 120071404200.00 14 420674) $254.38] $0.00 $254.38
31936) 1/12/2018 0:00] 120071404200.00 14 91944} $98.00 $0.00 $98.00
31963) 1/11/2018 0:00| + 50034215800.00 12 520027} $389.64) $0.00 $389.64
32028| 1/4/2018 0:00| 120071404200.00 30 2012} $70.50] $0.00 $70.50
32028) 1/4/2018 0:00/ +120071404200.00 30 2013| $80.40 «$0.00 $80.40
32028) 1/4/2018 0:00/ + 120071404200.00 80 2419C} $32.00 ——-$0.00 $32.00
32028| 1/4/2018 0:00 120071404200.00 120 3332} $255.60] $0.00] $255.60
32028) 1/4/2018 0:00|  120071404200.00 30 420674) $545.10/ $0.00 $545.10
32028| 1/4/2018 0:00| + 120071404200.00 30 9190A} $108.00/ $0.00 $108.00
32051| 1/10/2018 0:00|  120177830800.00 60 2533} $141.00] $0.00 $141.00
32051] 1/10/2018 0:00] +120177830800.00 120 3332] $255.60| $0.00 $255.60
32089| 1/16/20180:00/ —_1451456310.00 60 2187 $7.80] $0.00 $7.80
32089) 1/16/2018 0:00] — 1451456310.00 80 3332} $170.40! $0.00 $170.40
32166] 1/8/2018 0:00/ 114193958900.00| 115003 12 420619] $128.76] $0.00 $128.76
32166) 1/8/2018 0:00[ 114193958900.00| 115003 24 420677| $436.08] $0.00 $436.08
32166| 1/8/2018 0:00] _124193958900.00| 115003 24 420680| $198.24] $0.00 $198.24
32201] 1/15/2018 0:00/ —-2420416821.00 30 2013} $80.40] $0.00 $80.40
32201| 1/15/2018 0:00] 2420416821.00 200 2187| $26.00] —*$0.00 $26.00
32201) 1/15/2018 0:00/ _-2420416821.00 80 2418C| $32.00! $0.00 $32.00
32201) 1/15/2018 0:00] —- 2420416821.00 120 3332] $255.60] $0.00 $255.60
32201] 1/15/2018 0:00]: 2420416821.00 1|__MSC6102/ $17.96 $0.00 $17.96
32457] 1/18/2018 0:00 124187739100.00 6 295200 $64.38 $0.00 $64.38
32457| 1/18/2018 0:00] 124187739100.00 12] HBRS2520| $99.12 $0.00 $99.12
32545] 1/19/2018 0:00 54194055300.00 100 2187/  —$13.00/ $0.00 $13.00
32545] 1/19/2018 0:00 _54194055300.00 30 420677| $545.10] $0.00 $545.10
32545] 1/19/2018 0:00] 54194055300.00! 30 9194A} $210.00] $0.00 $210.00
32545] 1/19/2018 0:00 —_54194055300.00 240 9416C/ _$96.00/ —-$0.00 $96.00
32684) 1/26/2018 0:00 110112510600,00| 360 3332] $766.80] $0.00 $766.80
32684] 1/26/2018 0:00 110112510600.00| 50 403771} $526.50| $0.00 $526.50
32684] 1/26/2018 0:00 110112510600.00| 12 420633} $99.12| $0.00 $99.12
32684| 1/26/2018 0:00 110112510600.00] 120 6112) $282.00] $0.00 $282.00

 

 

 

 

 

 

 

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32684} 1/26/2018 0:00 110112510600.00 120 9190A] $432.00 $0.00 $432.00
32736} 9/26/2017 0:00 120031096000.00/ 995000 2 1254 $3.00 $0.00 $3.00
32736| 9/26/2017 0:00 120031096000.00/ 995000 3 145516] $21.99 $0.00 $21.99
32736] 9/26/2017 0:00 120031096000.00] ~~ 995000 3] 170630180] $45.57 $0.00 $45.57
32736] 9/26/2017 0:00 120031096000.00/ 995000 240 3332/ $511.20 $0.00 $511.20
32736| 9/26/2017 0:00 120031096000.00] 995000 56 420633] $462.56 $0.00 $462.56
32736} 9/26/2017 0:00 120031096000.00/ 995000 1320 4210} $528.00 $0.00 $528.00
32736] 9/26/2017 0:00 120031096000.00/ 995000 3 802031] $25.62 $0.00 525.62
NON21448
32736] 9/26/2017 0:00] 120031096000.00 995000 224 PACK] $29.12 $0.00 $29.12
32736| 9/26/2017 0:00; 120031096000.00 995000 168} PRM21450| $604.80 $0.00] $604.80
32738] 1/23/2018 0:00] _124198329000.00 997000 200 2187/ $26.00 50.00 $26.00
32738) 1/23/2018 0:00/ 124198329000.00 997000 120 2236] $232.80 $0.00 $232.80
32738] 1/23/2018 0:00 124198329000.00] 997000 4| MSC6102 $71.84 $0.00 $71.84
32765) 1/30/2018 0:00] 120059787300.00 100 2187/ $13.00 $0.00 $13.00
32765} 1/30/2018 0:00 120059787300.00 120 2236] $232.80 $0.00 $232.80
32901] 2/1/2018 0:00 120095236000.00] 995000 24 420677| $436.08 $0.00 $436.08
32901] 2/1/2018 0:00 120095236000,00] 995000 24 420680} $198.24 $0.00 $198.24
32901] 2/1/2018 0:00 120095236000.00| 995000) 24 MA028| $557.76 $0.00 $557.76
33006] 2/1/2018 0:00 124191711400.00 12 295300] $128.76 $0.00 $128.76
33094] 2/8/2018 0:00 124205184800.00 40 4584C| $34.40 $0.00 $34.40
33094) 2/8/2018 0:00! 124205184800.00 8 8036) $11.20 $0.00 $11.20
33241) 2/12/2018 0:00 124198899200.00 400 2187] $52.00 $0.00 $52.00
33241) 2/12/2018 0:00/ 124198899200.00 240 6715} $108.00 $0.00 $108.00
33241] 2/12/2018 0:00 124198899200.00 30 9190A| $108.00 $0.00 $108.00}
33440| 2/14/2018 0:00 120031096000.00/ 995000 48 2013] $128.64 $0.00 $128.64
33440) 2/14/2018 0:00] 120031096000.00 995000 60 2187 $7.80 $0.00 $7.80
33440] 2/14/2018 0:00] 120031096000.00] 995000 160 3332} $340.80 $0.00 $340.80
33440} 2/14/2018 0:00 120031096000.00] 995000 20 420633] $165.20 $0.00 $165.20
33440} 2/14/2018 0:00 120031096000,.00| 995000 704 4210] $281.60 $0.00 $281.60
33440| 2/14/2018 0:00 120031096000.00) 995000 108 9190A| $388.80 $0.00 $388.80
33550] 2/6/2018 0:00 120047069300.00 14 2187 $1.82 $0.00 $1.82
33550| 2/6/2018 0:00] 120047069300.00 40 2419C] $16.00 $0.00 $16.00
33550| 2/6/2018 0:00 120047069300.00 28 6715] $12.60 $0.00 $12.60

 

 

 

 

 

 

 

 

:29: §101
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33550} 2/6/2018 0:00 120047069300.00 7 HB4414 $57.82 $0.00 $57.82
33550] 2/6/2018 0:00 120047069300.00 14) MSC8722EP| 5325.36 $0.00 $325.36
33623) 2/21/2018 0:00 54194055300.00| 30 2013 $80.40 $0.00 $80.40
33623] 2/21/2018 0:00 54194055300,00 30 9180A} $108.00 $0.00 $108.00
33623] 2/21/2018 0:00 54194055300.00] 176} ~=MSc4004 $70.40 $0.00 $70.40
33627| 2/21/2018 0:00 124193750100.00 60 3332] $127.80 $0.00 $127.80
33627| 2/21/2018 0:00 124193750100.00 15 420677 $272.55 $0.00 $272.55
33627] 2/21/2018 0:00 124193750100.00 40 8535C $16.00 $0.00 $16.00
33627] 2/21/2018 0:00 124193750100.00| 15 91944) $105.00 $0.00 $105.00
33703] 2/23/2018 0:00 124191888900.00/ 997000 24 187955} $173.52 $0.00) $173.52
33801) 2/26/2018 0:00 124198329000.00] 997000 120 2236] $232.80 $0.00} $232.80
33801| 2/26/2018 0:00 124198329000,00| 997000 80 2419C $32.00 $0.00 $32.00
33844) 2/28/2018 0:00 30102839100.00 12 295200} $128.76 $0.00 $128.76
33875] 3/1/2018 0:00 114193958900.00| 115003 12 420619] $128.76 $0.00 $128.76
33875] 3/1/2018 0:00 114193958900.00] 115003 12 420677] $218.04 $0.00 $218.04
34116) 3/8/2018 0:00 120995236000.00| 995000 24 420680} $198.24 $0.00] $198.24
34116] 3/8/2018 0:00 120095236000.00] 995000 352} _MSC4004| $140.80 $0.00 $140.80
34186) 3/9/2018 0:00 114193958900.00] 115003 36 420677) $654.12 $0.00 $654.12
34186} 3/9/2018 0:00 114193958900.00] 115003 36 420680] $297.36 $0.00 $297.36
34198 3/8/2018 0:00 124187739100.00 12 187955 $86.76 $0.00 $86.76
34198} 3/8/2018 0:00 124187739100.00 12 187957} $223.08 $0.00 $223.08
34466| 3/13/2018 0:00 120218612200.00) 30 PGOO4| $697.20 $0.00 $697.20
34502} 3/15/2018 0:00 124191711400.00 12 295300] $128.76 $0.00 $128.76
34564] 3/19/2018 0:00 1201873 19600.00 60 1806 $7.80 $0.00 $7.80
34564| 3/19/2018 0:00 120187319600.00 120 2230} $153.60 $0.00 $153.60
34564] 3/19/2018 0:00] 120187319600.00 20 4584C $17.20 $0.00 $17.20
34564| 3/19/2018 0:00 120187319600.00 30] 8884423600 $80.40 $0.00 $80.40
34719] 2/2/2018 0:00 120218612200.00 24 520027| $779.28 $0.00 $779.28
34719) 2/2/2018 0:00 120218612200.00 24 HB4414| $198.24 $0.00 $198.24
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34913) 3/27/2018 0:00 124198329000.00! 997000 2} MSC6102 $35.92 $0.00 $35.92
34969] 3/27/2018 0:00 120058155700.00] 995000 12) 8884433605 $32.16 $0.00 $32.16
34973) 12/15/2017 0:00 120218612200.00 24 509382! $528.72 $0.00 $528.72
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35127] 4/4/2018 0:00] 120057472400.00| 6 295300 $64.38 $0.00 $64.38
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35210} 3/29/2018 0:00 120050055800.00] 995000 12) HBRS4520| $264.36 $0.00 $264.36
35248] 4/3/2018 0:00 120138349300.00 48 2187 $6.24 $0.00 $6.24
35248] 4/3/2018 0:00 120138349300,00 96 6715 $43.20 $0.00 $43.20
35255] 4/3/2018 0:00 6405192563.00 120 3394C $48.00 $0.00 $48.00
35255] 4/3/2018 0:00 6405192563,00| 30 46012 $66.00 $0.00 $66.00
35307} 4/4/2018 0:00| 124195 145900.00 90 9194A; $630.00 $0.00 $630.00
35309} 4/4/2018 0:00 124195145900.00 40] 2419€ $16.00 $0.00 $16.00
35309} 4/4/2018 0:00 124195145900.00 120] 3332} $255.60 $0.00 $255.60
35345| 4/6/2018 0:00 124187739100.00 12 187957] $223.08 $0.00 $223.08
35349] 4/6/2018 0:00 124205184800.00 40 4584C $34.40 $0.00 $34.40}
35349} 4/6/2018 0:00 124205184800.00 8 8036 $11.20 $0.00 $11.20
35386] 4/5/2018 0:00} 120126206400.00 12 420633 $99.12 $0.00 $99.12
35386] 4/5/2018 0:00] 120126206400.00 12 420639 $99.12 $0.00 $99.12
35386} 4/5/2018 0:00 120126206400.00 44 ZTDRO2 $17.60 $0.00 $17.60
35392] 4/9/2018 0:00 120047069300.60 40 2419C $16.00 $0.00 $16.00
35392] 4/9/2018 0:00 120047069300.00 7| MSC8722EP] $162.68 $0.00} $162.68
35394) 4/9/2018 0:00 120047069300.00 28 3332 $59.64 $0.00 $59.64
35477| 4/16/2018 0:00 124191711400.00 12 295300] $128.76 $0.00 $128.76
35532} 4/12/2018 0:00 120074933600.00 12 295200} $128.76 $0.00 $128.76
35618] 4/16/2018 0:00 110112510600.00 192 3332] $408.96 $0.00 $408.96
35618) 4/16/2018 0:00 110112510600,00 144 403771] $842.40 $0.00 $842.40
35618} 4/16/2018 0:00 110112510600.00 48 6112) $112.80 $0.00 $112.80
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35747| 4/16/2018 0:00 120058155700.00 995000} 240 3332} $511.20 $0.00 $511.20
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35859| 4/19/2018 0:00 120095236000.00/ 995000 90] 403771] $526.50 $0.00 $526.50
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35982] 4/23/2018 0:00] 120218612200.00 24 HB4414| $198.24] $0.00 $198.24
36100) 4/26/2018 0:00| 120095236000.00 995000 12 420680} $99.12] $0.00 $99.12
36134| 5/1/2018 0:00! 120050055800 00 995000 12 295300} $128.76] $0.00 $128.76
36158) _5/2/20180:00| 124187739100.00 12 187957} $223.08] $0.00 $223.08
36357| 5/1/2018 0:00! 120031096000.00 995000 48 2013} $128.64] $0.00 $128.64
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36357/ 5/1/2018 0:00] 120031096000.00 995000 352 4210) $140.80] — $0.00] $140.80
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36357| 5/1/2018 0:00|_120031096000.00| 995000 30 PACK $3.90} $0.00 $3.90
36396] 5/3/2018 0:00/ _ 50067022400.00 12 187955] $86.76] $0.00 $86.76
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36396) —_5/3/20180:00] 50067022400.00 60 PACK $7.80] $0.00 $7.80
36491) 4/24/2018 0:00] 124195145900.00 120] 3332] $255.60/ $0.00 $255.60
36491) 4/24/2018 0:00 124195145900.00 30] 9194} $210.00] $0.00 $210.00
36546] 4/3/2018 0:00] _120031096000.00 995000 352 4210} $140.80 $0.00 $140.80]
36553] 4/30/2018 0:00| _50067022400.00 12 420680! $99.12 «$0.00 $99.12
36610} 5/14/2018 0:00] _120138349300.00 8 31045] $145.36] $0.00 $145.36
36668/ 5/9/2018 0:00| —120095236000.00 995000 36 420680] $297.36] $0.00 $297.36
36720] 5/14/2018 0:00] _50067022400.00 24 187955] $173.52] $0.00 $173.52
36971) 5/21/2018 0:00! 120126206400.00 8 420633| $66.08] $0.00 $66.08
36983) 5/21/2018 0:00/ 120043543000.00 120 6715) $54.00] — $0.00 $54.00
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37173| 5/25/2018 0:00! 50004377800.00 30] 2012 $0.00} $15.07 $0.00
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37173) 5/25/2018 0:00] —50004377800.00 80 2419¢ $0.00] $0.00 $6.40
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37241) 5/29/2018 0:00 120218612200.00 24 509382} $528.72 $0.00 $528.72
37267| 5/30/2018 0:00 120057472400.00 12 187957! $223.08 $0.00 $223.08
37267| 5/30/2018 0:00 120057472400.00 12 509381) $99.12 $0.00 $99.12
37388] 6/1/2018 0:00 124187739100.00 12 187957 $223.08 $0.00 $223.08
37390| 6/1/2018 0:00 120050055800.00} 995000 24 295200] $257.52 $0.00 $257.52
37518] 6/4/2018 0:00 124198329000.00| 997000 2) _MSC6102/ $35.92 $0.00 $35.92
37538] 6/5/2018 0:00 50067022400.00 24 187955} $173.52 $0.00 $173.52
37542) 6/5/2018 0:00 110112510600.00 192 3332] $408.96 $0.00 $408.96
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37542| 6/5/2018 0:00 110112510600.00 48 6112] $112.80 $0.00 $112.80
37542) 6/5/2018 0:00} 110112510600.00 48 9190A| $172.80 $0.00 $172.80
37565) 6/5/2018 0:00 124198899200.00 90 403771) $526.50 $0.00 $526.50
37936] 6/19/2018 0:00 124195145900.00 30 1967| $210.00 $0.00 $210.00
37936] 6/19/2018 0:00] 124195145900.00 80 2419C} $32.00 $0.00) $32.00
37936) 6/19/2018 0:00] 124195145900.00 120] 3332} $255.60 $0.00] $255.60
37938) 6/19/2018 0:00] 124195148900.00 60 2013! $160.80 $0.00 $160.80
38084) 6/22/2018 0:00 120043543000.00 60 2187 $7.80 $0.00 $7.80
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38084) 6/22/2018 0:00] 120043543000.00 30 MAO28| $697.20 $0.00 $697.20
38086) 6/22/2018 0:00 120095236000.00] 995000 24 420680} $198.24 $0.00 $198.24
38148) 6/14/2018 0:00 124191711400.00 12 295300} $128.76 $0.00 $128.76
38148) 6/14/2018 0:00 124191711400.00 12 HB4414) $99.12 $0.00 $99.12
38372] 6/28/2018 0:00 120260522200.00 12 295200] $128.76 $0.00 $128.76
38386] 6/28/2018 0:00 120095236000.00/ 995000 96 420680} $792.96 $0.00 $792.96
38427| 6/28/2018 0:00 120218612200.00 24 509382} $528.72 $0.00 $528.72
38427! 6/28/2018 0:00| _120218612200.00 24 HB4414/ $198.24 $0.00 $198.24
38483] 7/2/2018 0:00 120031096000.00 995000} 48 2013} $128.64 $0.00 $128.64
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38483] 7/2/2018 0:00 120031096000.00] 995000) 108 9190A} $388.80 $0.00 $388.80
38504) 7/3/2018 0:00| 120064938500.00 30 295300] $321.90 $0.00 $321.90
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38560} 7/3/2018 0:00 124195145900.00 90 2013] $241.20 $0.00 $241.20
38629} 7/5/2018 0:00 124036309600.00 15|__MSCa544/ $348.60 $0.00 $348.60
38708] 7/9/2018 0:00 124187339000.00] 40 2419¢ $16.00 $0.00 $16.00}
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38708) 7/9/2018 0:00 124187339000.00 12 MA028] $278.88 $0.00 $278.88
38791! 7/11/2018 0:00 120106209500.00 30 9190A} $108.00 $0.00 $86.40
38847] 7/12/2018 0:00 124195145900.00 80 2419C $32.00 $0.00 $32.00
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38962! 7/17/2018 0:00 124191711400.00 15 900404) $272.55 $0.00 $272.55
38962| 7/17/2018 0:00 124191711400,00 15} MSC3044 $55.80 $0.00 $55.80
39000} 7/18/2018 0:00 120106209500.00 88 ZTDROZ2 $35.20 $0.00 $28.16
39003] 7/18/2018 0:00 120106209500.00 60 2187 $7.80 $0.00 $6.24
39015] 7/17/2018 0:00] 124195 145900.00 60 1967] $420.00} $0.00 $420.00}
39075] 7/16/2018 0:00 124205828400.00 30 900404) $545.10 $0.00) $545.10]
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39075] 7/16/2018 0:00 124205828400.00 176 ZTDROZ $70.40 $0.00 $70.40
33077] 7/16/2018 0:00 54207707900.00 12 187957| $223.08 $0.00 $223.08
39077] 7/16/2018 0:00 54207707900.00 120 6715 $54.00 $0.00 $54.00
39077] 7/16/2028 0:00 34207707900.00 30 9190A} $108.00 $0.00 $108.00
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39132] 7/19/2018 0:00 124035724300.00 12 420677| $218.04 $0.00 $218.04
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39173| 7/20/2018 0:00 120028275500.00 60} 2187 $7.80 $0.00 $7.80
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39173/ 7/20/2018 0:00 120028275500.00 80 2419C $32.00 30.00} $32.00
39173| 7/20/2018 0:00] 120028275500,00 5 ZG25P $10.40 $0.00} $10.40
39217| 7/24/2018 0:00 124204825400.00 120 6715 $54.00 $0.00 $54.00
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39231) 7/24/2018 0:00 110112510600.00 120 420677} $2,180.40 $0.00 $2,180.40
39231} 7/24/2018 0:00 110112510600.00 120 6112} $282.00 $0.00 $282.00
39231) 7/24/2018 0:00 110112510600.00 120 9190A} $432.00 $0.00 $432.00
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39377) 7/27/2018 0:00 120138910600.00] 995000 12 420680 $99.12 $0.00} $99.12
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39572} 8/2/2018 0:00 120183403900.00 2} _23035017/ $188.34 $0.00 $188.34.
39574] 8/3/2018 0:00 9445310993.00 72 403771! $421.20 $0.00 $421.20
39574} 8/3/2018 0:00 9445310993,.00 24 420619] $257.52 $0.00 $257.52
39668} 8/6/2018 0:00 124204825400.00 15 420677] $272.55 $0.00 $272.55
39670] 8/6/2018 0:00 124204825400.00 30 9190A} $108.00 $0.00 $108.00
39672| 8/6/2018 0:00 120008275200.00 15 529312) $348.60 $0.00 $348.60
39674| 8/6/2018 0:00 120008275200.00 60 2236} $116.40 $0.00 $116.40
39674] 8/6/2018 0:00 120008275200.00 40 2419C $16.00 $0.00 $16.00
39674) 8/6/2018 0:00} 120008275200.00 15} 8884433605 $40.20 $0.00 $40.20
39674) 8/6/2018 0:00 120008275200.00 15 9190A $54.00} $0.00 $54.00
39674] 8/6/2018 0:00 120008275200.00 1} MSC6102 $17.96 $0.00 $17.96
39720) 8/7/2018 0:00 124195145900.00 31 2013 $83.08 $0.00 $83.08
39720] 8/7/2018 0:00 124195145900.00 80} 2419C $32.00] $0.00 $32.00
39720] 8/7/2018 0:00 124195145500.00 124 3332] $264.12 $0.00 $264.12
39725] 8/7/2018 0:00 120028275500.00 30 2012 $70.50 $0.00 $70.50
39779] 8/10/2018 0:00] 114209312900.00 120 6715 $54.00 $0.00 $54.00
39800] 8/10/2018 0:00 50213211801.00 9 187957) $167.31 $0.00 $167.31
39802| 8/10/2018 0:00 50213211901.00 9 271500 $42.93 $0.00 $42.93
39832/ 8/13/2018 0:00 120043543000.00 120 6715 $54.00} $0.00 $54.00
39847| 8/8/2018 0:00 50213211901.00 9 509372 $78.75 $0.00 $78.75
39847| 8/8/2018 0:00 30213211901.00 6 529312} $139.44 $0.00} $139.44
39890] _ 8/8/2018 0:00 124195145900.00 59 2013] $158.12 $0.00 $158.12
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40252) 8/21/2018 0:00] 120028275500.00 60 2187 $7.80 $0.00 $7.80
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40271| 8/21/2018 0:00 +120036050000.00 15] MSC8S44] $348.60! $0.00 $348.60
40331) 8/16/2018 0:00] —120048030500.001 8 420681; $66.08 $0.00 $66.08
40377| 8/23/2018 0:00] 120106209500.00 12 187955] $86.76 $0.00 $69.41
40377 8/23/2018 0:00| 120106209500.00 12} HBRS4520] $264.36 $0.00 $211.49
40537| 8/27/2018 0:00| _50053653202.00 120] 2236] $232.80/ $0.00 $232.80
40537) 8/27/2018 0:00] 50053653202.00 30] CUR250381| $80.40 $0.00 $80.40
40551| 8/31/2018 0:00| +120008275200.00 60 2236] $116.40| $0.00 $116.40}
40551] 8/31/2018 0:00| 120008275200.00 40} 2419C] $16.00] = $0.00 $16.00]
40551) 8/31/2018 0:00| +120008275200.00 15 529312] $348.60 $0.00 $348.60]
40551) 8/31/2018 0:00] 120008275200.00 15| 8884433605} $40.20 $0.00 $40.20]
40551) 8/31/2018 0:00] 120008275200.00 15 9190A} $54.00 $0.00 $54.00]
40551) 8/31/2018 0:00| 120008275200.00 1} _MSC6102| = $17.96 $0.00 $17.96
40608] 8/30/2018 0:00| 124204825400.00 240 6715} $108.00 $0.00 $108.00
40608) 8/30/2018 0:00| 124204825400.00 80 8535C) $32.00 $0.00 $32.00
40608) 8/30/2018 0:00] 124204825400.00 60 9190A} $216.00 $0.00 $216.00
40761) 9/10/2018 0:00/  110112510600.00 60 9190A} $216.00 $0.00 $216.00
40761} 9/10/2018 0:00] 110112510600.00 60] HBRS4520| $1,321.80 $0.00] $1,321.80
40763| 9/10/2018 0:00] +110112510600.00 60 2013] $160.80] $0.00 $160.80
40763} 9/10/2018 0:00| 110112510600.00 240 6715} $108.00/ ~—-$0.00 $108.00]
40844) 9/4/2018 0:00| 124191711400.00 12 509384] $264.36 $0.00 $264.36

 

 

 

 

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40888) 9/5/2018 0:00] 110137566700.00 120] 2187/ $15.60 $0.00 $15.60|
| __40899| 9/7/2018 0:00| 114196340300.00| 999999 30 2187| $3.90] $0.00 $3.90
40899! _9/7/2018 0:00] 114196340300.00] 999999 8] 420635] $176.24| so.00 $176.24
40899! __9/7/2018 0:00| 114196340300.00| 999999 4| 420677 $72.68) S0.00 $72.68
40899) _ 9/7/2018 0:00] 114196340300.00| 999999 176 4210| _$70.40| $0.00] $70.40
40899| 9/7/2018 0:00| _114196340300.00 a99999 4 9190a) $14.40! $0.00 $14.40
40906) 9/10/2018 0:00] _ 50053653202.00 2} _23034017| $188.34]  §0.00 $188.34
40966] 9/10/2018 0:00 124198329000.00/ 997000 120 6715 $54.00 $0.00 $54.00
41010] 9/12/2018 0:00] 120031096000.00| 995000 48 2013] $128.64 $0.00 $128.64
41010] 9/12/2018 0:00| 120031096000.00| 995000 60 2187| _$7.80| $0.00 $7.80
41010} 9/42/2018 0:00] 120031096000.00] _ 995000 160 3332] $340.80/ $0.00 $340.80
41010| 9/12/2018 0:00| _120031096000.00 995000 20) __420633/ $165.20! $0.00 $165.20
41010| _ 9/12/2018 0:00| "120031096000.00| 995000 704 4210] $281.60/ $0.00 $281.60
41010) 9/12/2018 0:00] 120031096000.00| 995000 108 9190A] $388.80] $0.00/ $3aa.ao
41042) 9/5/2018 0:00 _120218612200.001 24) 509382] $528.72! soo $528.72
41042] 9/5/2018 0:00| 120218612200.00 24) __HB4414] $198.24 $0.00 $198.24
41062} 9/7/2018 0:00| _50063458001.00| 400750 60 2187| _$7.80| $0.00] $7.80
41062] 9/7/2018 0:00| _50063458001.00| 400759 60 6715] $27.00 $0.00] $27.00
41080| 9/5/2018 0:00| 160036631900.00] 4| 420680; $33.04) $0.00 $33.04
41119] 9/12/2018 0:00! 124195145900.001 90| 2013| §241.20/ $0.00 $241.20
41121) 9/12/2018 0:00) 124195145900.00 80| 2419C] _§32.001 $0.00 $32.00
41148] 9/14/2018 0:00! 120043543000.001 60| 2187| __$7.80| $0.00) $7.80
41148) 9/14/2018 0:00| 120043543000.00 120 6715| $54.00] $0.00 $54.00
41148] 9/14/2018 0:00! 120043543000.001 30] Ma028| $697.20!  so.00 $697.20
41150] 9/14/2018 0:00| 124036663100.00 100] 1806] $13.00 $0.00 $13.00
41150] 9/14/2018 0:00] 124036663100.00| 100 2187| _$13.00/ $0.00 $13.00]
41150] 9/14/2018 0:00] 124036663100.00! 176] ZTORO4| ~—«$70.40| $0.00 $70.40
41169} 9/14/2018 0:00| _120095236000.00| 995000 60 2187| —- $7.80| $0.01 $7.80
41169] 9/14/2018 0:00| 120095236000.001 995000 42] 420677| $763.14! $0.00/ $763.44
41169) 9/14/2018 0:00| _120095236000.00| 995000 42| _420680| $346.92! $0.00 $346.92
41188) 9/13/2018 0:00| 120048030500.00 12] 420681] $99.12| $0.00] $99.12
41233] 9/17/2018 0:00] 124036082000.00 8] _295200[ $85.84| $0.00) $85.84
TOTAL $196,769.30
